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                                   #: 3310

                                                                                1


                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION
                     CASE NO. 1:23-cv-00595-JPH-KMB

      K.C., et al.,                   )
                                      )
                          Plaintiffs, )
                                      )
              -vs-                    )
                                      )
      THE INDIVIDUAL MEMBERS OF THE )
      MEDICAL LICENSING BOARD OF      )
      INDIANA, in their official      )
      capacities, et al.,             )
                                      )
                          Defendants. )




              The deposition upon oral examination of PAUL W.
        HRUZ, M.D., PH.D., a witness produced and sworn
        before me, Dianne Lockhart, RMR, CRR, a Notary Public
        in and for the County of Marion, State of Indiana,
        taken on behalf of the Plaintiffs via videoconference
        in Manchester, St. Louis County, Missouri, on the 1st
        day of June, 2023, commencing at 9:30 a.m. pursuant
        to the Federal Rules of Civil Procedure.




                          CIRCLE CITY REPORTING
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 K.C., et al. VS                                #: 3311                                  PAUL W. HRUZ, M.D., PH.D.
 The Individual Members of the Medical Licensing Board                                                 June 1, 2023
                                                      Page 2                                                    Page 4
   1                   A P P E A R A N C E S
                                                                1 P A U L W. H R U Z, M. D., P H. D., having
   2   FOR THE PLAINTIFFS:    Chase Strangio
                             AMERICAN CIVIL LIBERTIES UNION     2    been first duly sworn to tell the truth, the
   3                          125 Broad Street
                              19th Floor                        3    whole truth and nothing but the truth relating to
   4                          New York, NY 10004
                              cstrangio@aclu.org                4    said matter, was examined and testified as
   5                                -and-
                              Kenneth J. Falk                   5    follows:
   6                          ACLU OF INDIANA
                                                                6 DIRECT EXAMINATION,
                              1031 East Washington Street
   7                          Indianapolis, IN 46202
                                                                7    QUESTIONS BY CHASE STRANGIO:
                              kfalk@aclu-in.org
   8                                                            8 Q Hi. Good morning, Dr. Hruz. Good to see you. I
   9   FOR THE DEFENDANTS:    John D. Ramer                     9     know we've met before. My name is Chase
                              COOPER & KIRK PLLC
  10                         1523 New Hampshire Ave., N.W.     10    Strangio. I am with the ACLU based in New York
                              Washington, D.C. 20036
  11                          jramer@cooperkirk.com            11    representing the plaintiffs in this case and will
  12
       ALSO PRESENT:          Mylene Laughlin
                                                               12     be asking you some -- some questions today.
  13                          Shay Storz                       13        As we -- we noted earlier, we have Ken Falk
                              Brandon Splitter
  14                          Derek Smith                      14    from the ACLU of Indiana also here on Zoom, as
  15
       MODERATOR:             Kim Rocke
                                                               15     well as some law student interns.
  16                          Circle City Reporting            16        Just to get us started, can you state and
  17                                                           17     spell your full name for the record, please.
  18                                                           18 A Paul -- excuse me. Paul William Hruz, H-R-U-Z.
  19                                                           19 Q And you've had your deposition taken before; is
  20                                                           20     that right?
  21                                                           21 A That is correct.
  22                                                           22 Q So generally you know how this process goes.
  23                                                           23 A Yes.
  24                                                           24 Q But just for the sake of laying all the ground
  25                                                           25    rules for today, I'm just going to run through a

                                                      Page 3                                                    Page 5
   1        I N D E X    O F    E X A M I N A T I O N
                                                    PAGE        1   few things to make sure we are on the same page,
   2 DIRECT EXAMINATION ............................. 4
          Questions by Chase Strangio                           2    if that's okay with you.
   3
                                                                3 A Very good.
   4
                                                                4 Q So when answering my questions, as you know, we
   5
                                                                5    have a court reporter here, so I ask that you
   6                                                            6   respond verbally. You know, nods and other sort
   7                                                            7   of uh-uhms don't show up on the record, so can
   8           I N D E X     O F   E X H I B I T S              8    you agree to that?
                                                    PAGE
   9 Deposition Exhibit No.:                                    9 A Yes.
      1 - Defendants' Disclosure of Expert Report
  10      of Paul w. Hruz, M.D., Ph.D................ 10       10 Q And also to help the court reporter, if you could
      2 - Curriculum Vitae .......................... 12
  11 3 - Testimony in Brandt Case .................. 13        11   wait until I finish my question before answering,
      4 - Testimony in Dekker Case .................. 13
  12  5 - (Not Used)
      6 - Web Page for Emmaus Road Press ............ 50
                                                               12    as best we can not interrupt each other, that
  13  7 - "About Us" Section of The New Atlantis               13   will make everything easier, so hopefully we can
          Web Page................................... 52
  14  8 - (Not Used)
      9 - "Proper Care of Transgender and Gender
                                                               14    do that as well.
  15      Diverse Persons in the Setting of Proposed           15 A I will do my best to do so.
          Discrimination: A Policy Perspective"..... 67
  16 10 - NCBQ Information for Authors ..............121       16 Q And if you don't understand my question, which is
     11 - "Brief Statement of Transgenderism,"
  17      The National Catholic Bioethics Center.....125       17   very possible, at any given time please let me
     12 - "The Use of Cross-Sex Steroids in the
  18      Treatment of Gender Dysphoria".............134       18   know and I can try to word it differently, but if
  19                                                           19   you do answer, I will assume you understood it.
  20                                                           20    Does that sound okay to you?
  21                                                           21 A Yes.
  22                                                           22 Q And are you feeling okay today?
  23                                                           23 A Yes.
  24                                                           24 Q And are you on any medication or is there any
  25                                                           25    reason why your ability to answer truthfully

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   1    today would be impaired?                             1 Q   Have you ever spoken with a member of the Indiana
   2 A No.                                                   2     legislature about Senate Enrolled Act 480?
   3 Q And is there any reason you don't feel like you       3 A    Not that I'm aware of, no.
   4   could give complete and truthful testimony today?     4 Q    And did you speak with anyone about Senate
   5 A No. I think I'm prepared.                             5     Enrolled Act 480 while it was pending, to your
   6 Q Okay. And just one logistical point. We have          6     knowledge?
   7   Kim here on -- who's going to be uploading the        7 A   Not while it was pending, no.
   8   exhibits for us as we need them. If at any point      8 Q    And what is your understanding of what Senate
   9    it's not clear to you or you need to zoom in,        9     Enrolled Act 480 does?
  10    just let Kim know and we can make sure it's         10 A   Well, it's a -- again, I'm not testifying as a
  11    visible to you.                                     11     legislator or a lawyer, but my understanding is
  12         MR. STRANGIO: And, John, do you have all of    12     it -- it deals with the provision of
  13    the exhibits? I forwarded them over this            13     gender-affirming medical care and recognizing
  14    morning.                                            14     the -- the harms, lack of proven benefit of that,
  15         MR. RAMER: Yes, yes, I believe I have them     15     and therefore legislating that that type of
  16    all. I got the exhibits, so.                        16     intervention not be delivered in the state of
  17         MR. STRANGIO: Okay. Great. So we're --         17     Indiana.
  18    logistically I'm impressed with the start           18 Q    And what did you do to prepare for your
  19    already.                                            19     deposition today?
  20 Q So, and, Doctor, if there comes a time, of           20 A    I read through my declaration that I recently
  21   course, during the deposition when you need a        21     submitted. I'm constantly reviewing the
  22   break, let me know. I just ask that you finish       22     literature, so I continued in that process, as
  23   answering the question that I've asked you before    23     I've done for many years. And I had a phone
  24    we take the break. Does that sound okay?            24     conversation with -- with John earlier this week.
  25 A Very good.                                           25 Q    And you said you had a conversation with John.

                                                   Page 7                                                     Page 9

   1 Q Okay. So I think that's it for the basics. I          1   Without telling me what -- what you discussed,
   2   thought we could start just with a few background     2   for how long did you -- did you speak with John,
   3    questions on your involvement in this case.          3    about?
   4       As I understand it, you've been retained by       4 A Somewhere between 30 and 45 minutes.
   5    the defendants as an expert in this case; is that    5 Q And was that the only conversation with John
   6    right?                                               6    about this deposition that you had?
   7 A That is correct.                                      7 A We had some email communication just to know the
   8 Q And how did you -- how did you come to be             8    date, the time, the logistics and just the
   9    retained in this case?                               9    details of this deposition today.
  10 A One of the lawyers from the DA's office, I think     10 Q And did you speak with anyone else at the -- or
  11   it was Corrine Youngs, contacted me asking me if     11   anyone, I guess, at the Indiana AG's office about
  12    I would be involved.                                12    the deposition?
  13 Q And when was that?                                   13 A Some email correspondence, again, the details,
  14 A I don't recall the exact date. It was shortly        14    getting the link and -- and the timing.
  15    after the lawsuit was filed.                        15 Q And other than counsel, did you speak with anyone
  16 Q Okay. Understood. And you're aware that this is      16    about your testimony here today?
  17    a case that concerns a challenge to an Indiana      17 A No.
  18    law called Senate Enrolled Act 480?                 18 Q Did you review any documents other than your
  19 A Correct.                                             19    declaration and your ongoing review of the
  20 Q And when this -- when this law was pending in the    20    literature?
  21    Indiana legislature, did you take any public        21 A Well, I at some point reviewed the declarations
  22    positions on the bill?                              22    that were provided by the plaintiff witnesses
  23 A No.                                                  23   and, again, just reviewing the literature in this
  24 Q Did you testify in support of the bill?              24    field as it continues to evolve.
  25 A No.                                                  25 Q And do you have anything with you today while


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   1    we're doing this deposition?                          1     anything changed since you filed it?
   2 A I have nothing physically with me. The only            2 A   No.
   3   document I have that is not opened right now but       3 Q   And so nothing you would like to amend or
   4    is on my computer is my declaration.                  4     correct?
   5 Q Okay. Understood. And so if you at any point           5 A   That is correct.
   6   consult something, I may ask you about it and --       6        MR. STRANGIO: Okay. If we could pull up
   7   and would ask that you then just turn that over        7     Exhibit 2, Kim. Thank you.
   8   to us, but for now I understand the only thing         8 Q   So, Doctor, does this -- what is this document?
   9   that you may look at is your declaration; is that      9 A   This is a recent copy of my curriculum vitae.
  10    right?                                               10 Q   And I see it's dated 5-26-23. Is that current as
  11 A That is correct.                                      11     of today's date as well, June 1, 2023?
  12 Q Okay. So I want to just mark some exhibits to         12 A   Yes. There's been -- there have been no
  13   get us started that we'll probably be referencing     13     additions in the last week.
  14   throughout the day and try to make it a little        14 Q   And so nothing missing from it?
  15    easier, just to get that out of the way.             15 A   At best I know, correct.
  16        MR. STRANGIO: So if -- if, Kim, you could        16 Q   And in the past year, you have testified in two
  17    pull up what is premarked as Exhibit 1, that         17     trials related to the provision of
  18   would be great. And so I want to go ahead mark        18     gender-affirming medical care to adolescents; is
  19   this as Exhibit 1 and -- we're almost there. We       19     that right?
  20    saw it and then --                                   20 A    That is correct.
  21 Q Okay. Dr. Hruz, do you recognize this document?       21 Q   And that would be the Brandt case in Arkansas and
  22 A This looks like the first page of my declaration      22     the Dekker case in Florida?
  23    in this case.                                        23 A    That is correct.
  24        MR. STRANGIO: And -- and, Kim, if you could      24        MR. STRANGIO: And so I want to pull up what
  25   just scroll -- you can see it's 52 pages. Maybe       25     is marked as Exhibit 3.

                                                   Page 11                                                    Page 13

   1     just scroll through a little bit.                    1 Q    And does this, Dr. Hruz, appear to be your
   2 Q   And does this appear to be, Dr. Hruz, a true and     2     testimony -- and we'll scroll through actually a
   3     accurate copy of the declaration that you filed      3     little bit, but your testimony from the Brandt
   4     in this case?                                        4     case in Arkansas?
   5 A    That which I'm able to see, yes.                    5 A    I don't know that I've seen this document, but
   6 Q    Okay. And -- and who wrote this declaration?        6     from what I can see here, that's what it looks
   7 A    I did.                                              7     like, yes.
   8 Q    Did anyone help you?                                8 Q    And then we can see -- just so you see the
   9 A    There was some formatting and typographical         9     beginning. So this looks like, as you recall,
  10     editing, but this is my work product.               10     your direct examination in the -- in the Arkansas
  11 Q   And did you discuss it with anyone?                 11     trial; is that right?
  12 A   Yes, I did, with the -- with John and the           12 A   Well, what I see is very limited, but that's what
  13     defendant lawyers.                                  13     it appears to be, yes.
  14 Q   And did you discuss it with any of the other        14 Q   And was the testimony that you gave in the Brandt
  15     experts retained by the defendants in this case?    15     case accurate?
  16 A    No.                                                16 A   Yes, to the best of my ability, yes.
  17 Q    And does this declaration represent a complete     17        MR. STRANGIO: And I want to now pull up
  18     statement of the opinions you intend to provide     18     what's marked as Exhibit 4.
  19     in this matter?                                     19         And, Kim, if you could just scroll through a
  20 A    Yes.                                               20     little bit. I think it's going to be about 15 or
  21 Q    And are you aware of any inaccuracies in the       21     so pages in. You can see at the top when it
  22     declaration that you submitted?                     22     reaches Paul Hruz Direct.
  23 A   It is accurate and complete to the best of my       23 Q    But so looking at this document as we scroll
  24     knowledge.                                          24     through it, Dr. Hruz, does this appear to be the
  25 Q    I know that you just filed it last week, but has   25     transcript of your testimony at the Dekker trial

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   1     in Florida?                                          1 A My attempt was to be as complete in everything
   2 A    Well, again, I've not previously seen this          2   that I can recall from my records of the cases
   3     document, but what we're scrolling through here      3    that I've been involved in.
   4     looks like a reflection of what was testified in     4 Q And were you involved as an expert in the
   5     that case.                                           5    Tavistock case in the United Kingdom?
   6 Q   And was the testimony that you gave in the Dekker    6 A I was not deposed and I did not testify. I
   7     case accurate?                                       7    provided information for them related to the
   8 A   Yes, to the best of my knowledge.                    8   relative risks and benefits of gender-affirming
   9 Q    Okay. I think we can -- we can take -- we can       9    care within my area of expertise.
  10     take this down for now and we'll come back to       10 Q And are there any other cases where you're
  11     some of these exhibits. I just wanted to -- to      11   currently working on expert reports or have been
  12     get that out of the way.                            12   retained but they have not yet been submitted?
  13        So you -- you mentioned that you've been         13 A Yes.
  14     deposed before. How many -- how many times,         14 Q And what are those?
  15     would you say?                                      15 A There's a case in Alabama and Tennessee.
  16 A   That's listed in my declaration as far as the       16 Q And have you ever reached out to any of the
  17     cases that I've been deposed or have testified at   17   government officials in these cases and offered
  18     trial.                                              18    yourself as an expert witness?
  19 Q    And nothing other than what's listed in your       19        MR. RAMER: Objection to form.
  20     declaration?                                        20 A No. In each of the cases I have been contacted.
  21 A    I'm trying to -- there were a couple of cases      21   I've actually tried very hard with my schedule to
  22     many years ago that were unrelated to gender        22   limit my -- my involvement, but, no, I've not
  23     issues. I didn't keep records at that time, but     23    reached out to anybody to participate.
  24     I tried to put everything in there that I can       24 Q And currently about how many hours per week do
  25     recall.                                             25   you spend serving as an expert witness in cases?

                                                   Page 15                                                  Page 17

   1 Q   And these cases a number of years ago, you said      1 A It's quite variable. I would say that it's -- it
   2     they're not related to gender dysphoria. What        2    could be anywhere from a couple of hours. I
   3     were they related to?                                3   don't -- I'd have to look at -- at how many hours
   4 A   There was a case related to an adverse event in a    4   I do. My -- my necessity in my role, because my
   5     patient with diabetes. There was a case              5   full-time job is a pediatric endocrinologist and
   6     involving adverse effects of treatment with an       6   physician scientist at Washington University and
   7     antipsychotic medication leading to metabolic        7   that is my primary responsibility, so all of my
   8     disorders. There was a case related to               8   involvement in this work is done on my private
   9     medication effects causing gynecomastia.             9    time and trying to balance those
  10 Q   And were you serving as an expert witness in        10    responsibilities, so it's less than one day a
  11     these cases?                                        11    week.
  12 A    Yes, I was.                                        12 Q And so far in -- in 2023, do you have an
  13 Q    In all of them?                                    13   estimation of about how many hours you've spent
  14 A   In the ones that I just mentioned. And there was    14    serving as an expert witness?
  15     also one on congenital hypothyroidism, as I         15 A I don't have an exact number of that, no.
  16     recall.                                             16 Q But is it more than 200 hours?
  17 Q   And are there any other cases in which you were     17 A No.
  18     involved as an expert witness but you were not      18 Q More than 100?
  19     deposed?                                            19 A Again, I would have to look -- look back. I
  20 A   I'm trying to remember if I actually -- in the      20   would say that -- I wouldn't be able to know that
  21     South Dakota case actually was deposed or not.      21    off the top of my head.
  22     That case was closed prior to completion, so.       22 Q But approximately one day a week you would say on
  23 Q    I do believe you were deposed in that case, but    23    average?
  24     no other cases other than the general ones that     24 A I would say less than one day a week.
  25     you've listed out on your declaration?              25 Q Understood. And have you ever testified in any


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   1     state legislatures over legislation concerning     1   Endocrinology and Diabetes, those administrative
   2     transgender people or treatment of gender          2    responsibilities have -- have decreased as well.
   3     dysphoria?                                         3        MR. STRANGIO: And -- and if we could pull
   4 A    There was only one time in Arizona where I did 4       up Exhibit 2, page 1 of -- this is your CV again.
   5     testify to the scientific evidence related to an 5          THE MODERATOR: I'm sorry, I didn't catch
   6     issue involving gender care.                       6    what you said.
   7 Q    And when was that?                                7        MR. STRANGIO: Sorry. If you could pull up
   8 A    Probably a year and a half ago. I don't have the 8    Exhibit 2 and go to page 1, Kim. Thank you. And
   9     exact date.                                        9    scroll down just a bit.
  10 Q    But within the last three years?                 10 Q Okay. So here on the academic positions and
  11 A    Correct.                                         11   employment, it looks like prior to 1997 you were
  12 Q    And was that on a bill concerning the provision 12     with a physician group in Seattle; is that right,
  13     of gender-affirming care to minors?               13    Dr. Hruz?
  14 A    Yes.                                             14 A That was during my residency training. I was
  15 Q    So what -- what is your current job, Dr. Hruz? 15      doing some moonlighting work in a neonatal
  16 A    I am a pediatric endocrinologist and academic 16       intensive care unit.
  17     physician scientist at Washington University. 17 Q And between 1997 and 2000, there's nothing listed
  18     And my professional responsibilities involve 18        in your employment. What were you doing during
  19     direct patient care, scientific research and      19    those years?
  20     education of trainees, residents, fellows and 20 A I was in my fellowship training at Washington
  21     medical students, and I also have some            21    University in St. Louis.
  22     administrative responsibilities.                  22 Q So you arrived at Washington University in 1997?
  23 Q   And how long have you held that current position? 23 A That is correct.
  24 A    Which current position? I've been at Washington 24 Q And I know that -- that you have just said this
  25     University since 1997, and I joined the faculty 25      in some -- to some effect, but is it correct that

                                                  Page 19                                                  Page 21

   1   in 2000, so I've been at Washington University my     1    you are an endocrinologist?
   2    entire career.                                       2 A I'm a pediatric endocrinologist, correct.
   3 Q And have you had the same responsibilities for        3 Q And so what conditions as a pediatric
   4    your entire career at Washington University?         4    endocrinologist do you treat patients for?
   5 A No. I was formerly the chief of our Division of       5 A So as a pediatric endocrinologist, we treat
   6    Endocrinology and Diabetes. I did that for five      6   patients from birth all the way to the early 20s
   7    years. I also previously served as the director      7   involving disorders of the endocrine system. By
   8    of our fellowship program. That's a position         8   that, that means disorders that involve hormones
   9    I -- I am currently serving as associate             9    that are secreted from one part of the body,
  10    director. And the division of my labor has --       10    circulated through the bloodstream and act
  11    has changed over the years as far as the            11    distally at other organs. It includes the
  12    partitioning of time spent in research versus       12   treatment of patients with metabolic disorders,
  13    clinical care versus teaching.                      13    diabetes mellitus, dyslipidemia, pubertal
  14 Q And currently what is the division of your time      14    disorders, thyroid disorders, disorders of the
  15    between research, clinical care and teaching?       15   pituitary gland, disorders of sexual development,
  16 A Currently I'm doing more patient care. As my         16    a whole -- bone diseases. I tried to outline in
  17   research career has evolved, I've become involved    17   my declaration the scope, and that's contained
  18   in drug discovery efforts. Many of these efforts     18    within that document.
  19    do not require a hands-on presence in my            19 Q And you mentioned that you treat patients up
  20    laboratory, rather with collaborations and          20    to -- to their early 20s; is that -- is that
  21   involvement with contract research organizations.    21    right?
  22    My time, because I'm the associate director and     22 A We will generally follow patients through
  23    not director of the fellowship program, requires    23   college, and I have a few patients that I -- with
  24   somewhat less involvement. And certainly since I     24   very complex disorders that are rare enough that
  25    stepped down as chief of the Division of            25   the adult physicians are not familiar with caring

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   1   for that, so we will, on rare exceptions, see        1   them to the care that they need, I think that's a
   2   them even later than that, but, in general, we       2    role that all pediatric endocrinologists are
   3   try to transition them to adult care by the time     3    involved in.
   4   they finish college.                                 4 Q And so you treat patients for endocrine
   5 Q And is it common, would you say, for                 5   conditions that also have co-occurring mental
   6   pediatricians to see patients after the age of       6    health conditions?
   7   18?                                                  7 A I certainly have encountered patients that have
   8       MR. RAMER: Objection to form.                    8   endocrine disorders that also have psychiatric
   9 A Yes. So at least in my profession as a pediatric     9    conditions, and in some situations it directly
  10   endocrinologist at an academic center, we will      10    affects the care of that patient, yes.
  11   recognize that much of the development that         11 Q And do you have any formal educational training
  12   occurs is not completed at age 18. I know that      12    in the provision of mental health treatment?
  13   many primary care pediatric practices will          13 A I think all medical students in part of their
  14   require patients to transition to adult care as     14   training rotate in psychiatry and have experience
  15   they turn 18, but that is not the case at -- at     15    in psychology in their training, and it is also
  16   Washington University, nor most other academic      16   something that occurs throughout one's career.
  17   centers.                                            17       In fact, we have monthly psychosocial rounds
  18 Q And you're not a psychiatrist; right?               18    where we -- in fact, we're having one this
  19 A I have not been formally trained or certified in    19   afternoon where we're presenting psychosocial
  20   psychiatry. My limitation in addressing             20    issues that are affecting the care of our
  21   psychiatric issues relates to my practice as a      21    patients with diabetes.
  22   pediatric endocrinologist. I do need to have        22 Q So other than in medical school and in ongoing
  23   some familiarity with psychiatric conditions as     23   rounds in your clinical practice, do you have any
  24   it pertains to the proper care of my patients.      24   formal training with respect to the provision of
  25 Q But just as to certified, you are not a             25    mental healthcare?

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   1    psychiatrist?                                       1 A They also have many times in our pediatric and
   2 A I'm not a certified psychiatrist, correct.           2   medicine grand rounds delivered topics related to
   3 Q And you're not a psychologist?                       3    those issues as well. It's part of some of the
   4 A I am not a certified psychologist, correct.          4   questioning in maintenance of certification, and
   5 Q And you're not an uncertified psychologist           5   so I would say that I do have ongoing exposure to
   6    either, I assume?                                   6    these issues, again, as it pertains to my
   7        MR. RAMER: Objection to form.                   7    practice as a pediatric endocrinologist.
   8 A I would say all physicians participate in            8 Q Would you consider yourself an expert in -- in
   9    psychological issues in the care of their           9    the provision of mental health care?
  10    patients, so to that extent, it's limited to my    10 A It depends on -- on how you define expert. I am
  11    role as a pediatric endocrinologist.               11   a pediatric endocrinologist and I deliver care to
  12 Q And would you say it's common for physicians in     12   patients that have endocrine disorders. Patients
  13    different specialties to have experience with      13    will not come to me primarily for psychiatric
  14    mental health conditions?                          14    conditions.
  15        MR. RAMER: Objection to form.                  15 Q So you don't primarily treat patients for
  16 A I would say that as a pediatric endocrinologist,    16    psychiatric conditions?
  17    that many of my patients have psychiatric          17 A As I just said, I treat patients with endocrine
  18   comorbidities that significantly influence their    18    diseases and I do not treat patients that come
  19   ability to enter into and adhere to the treatment   19    primarily for psychiatric conditions.
  20   recommendations. I frequently encounter patients    20 Q Do you have any education or training related to
  21    that are significantly affected by these           21    the treatment of gender dysphoria?
  22    psychiatric conditions. I've certainly in          22 A This is -- the topic of gender dysphoria has been
  23    evaluating, for example, endocrine disorders,      23    very active over the last decade, and I --
  24    menstrual irregularities that are due to           24   actually my involvement, my entry into this field
  25    anorexia, being able to recognize that and get     25   came at the time that I was chief of our Division

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 The Individual Members of the Medical Licensing Board                                               June 1, 2023
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   1   of Endocrinology and Diabetes, where one of my        1       I've certainly cared for patients that have
   2   faculty members approached me asking to develop a     2    gender dysphoria in the context of endocrine
   3    gender center at our institution. It                 3   disorders that they have, including dyslipidemia,
   4    necessitated me to look at the literature in this    4    diabetes, thyroid disease and obesity, but,
   5    field to make an assessment about the proposal       5    again, these patients are not coming to me
   6    that was being made, and that process has            6    specifically for the treatment of gender
   7    continued over the last decade. I have               7    dysphoria.
   8    participated in both discussions of this topic at    8 Q So let's take it in -- in sequence. So have you
   9    local, national and international meetings.          9   ever prescribed hormonal interventions to treat
  10 Q So you consider your training related to gender      10    gender dysphoria in an adolescent?
  11    dysphoria in -- to be the review of the             11 A As I made very clear in my declaration, in my
  12    literature related to the topic; is that what I'm   12    investigation into the affirmative model for
  13    understanding?                                      13   gender-affirming care, I have concluded that the
  14        MR. RAMER: Objection to form.                   14   relative risks versus purported benefits do not
  15 A Are you asking me if -- if my understanding of       15   support engagements in that activity, and because
  16    gender dysphoria is limited to reading papers, is   16   of that, it would be unethical for me to be able
  17    that what the question is?                          17    to deliver care that I have deemed not
  18 Q No, that's not the question, because I asked you     18    appropriate for patients.
  19    do you have any education or training related to    19 Q I didn't ask you why. Just as a yes or no
  20   gender dysphoria and you responded by explaining     20    question, have you ever prescribed hormonal
  21    that you had reviewed the literature, so I'm        21    interventions to treat a patient who is an
  22    trying to understand what is the education or       22    adolescent for gender dysphoria?
  23    training that you've received with respect to       23       MR. RAMER: Objection to form.
  24    gender dysphoria?                                   24 A For the -- for the reason I just stated, I do not
  25        MR. RAMER: Objection to form.                   25   provide any medical care that I deem that is not

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   1 A It's similar to how I addressed your question         1     justified by a risk/benefit analysis, and that
   2    about other areas of psychiatric care. This          2     includes gender-affirming care in the role of an
   3   involves my participation in formal presentations     3     endocrinologist.
   4    at medicine and pediatric grand rounds,              4        MR. STRANGIO: Just for simplicity, to get
   5    discussions of this topic at national and            5     the clearest possible answer, if we could pull up
   6   international meetings, direct conversations with     6     Exhibit 3, Kim, and if you could go to page 106.
   7   my colleagues and those in other specialties, in      7     And so if we could scroll down to line 21.
   8    addition to my reading of the literature.            8 Q   So this is the transcript from the Brandt trial.
   9 Q Have you ever delivered a grand round related to      9     And I asked you, "And you've never treated a
  10    the topic of gender dysphoria?                      10     patient for gender dysphoria; correct?"
  11 A Yes, I have.                                         11         And then your answer was, "Not for gender
  12 Q Where was that?                                      12     dysphoria, correct."
  13 A I've done several. Off the top of my head, I did     13         Anything different about your answer today?
  14    a medical grand rounds at the University of         14 A    My answer is entirely consistent with what I
  15    Kentucky, at the school in Texas, at St. Louis      15     testified in that case, which I just shared with
  16    University. I'm trying to think of all the -- I     16     you.
  17   tried to list them in my CV, and you'll probably     17 Q    So you've --
  18    find that further down in the document that's       18         MR. RAMER: Sorry, Chase, just to clarify,
  19    currently displayed here.                           19     it's page 106 in the PDF and this is page 1317 in
  20 Q And have you ever treated a patient for gender       20     the transcript.
  21    dysphoria?                                          21        MR. STRANGIO: Correct.
  22 A Well, I -- if I understand your question, you're     22        MR. RAMER: Okay. Thank you.
  23    asking if I've delivered medical affirmation        23        MR. STRANGIO: Yeah, sorry. I was trying to
  24    interventions involving hormones, is that the       24     make it easy for the court reporter and did not
  25    question?                                           25     make it easy for you or the record. Yes, so this

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 K.C., et al. VS                                #: 3318                               PAUL W. HRUZ, M.D., PH.D.
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   1     is page 1317.                                       1   your patients that you treat for, say, diabetes
   2 Q    So -- so when you said that at the Brandt trial    2    also have a gender dysphoria diagnosis that
   3     that you have -- you have not treated a patient     3   they're being treated for hormone therapy with?
   4      for gender dysphoria, that is your position        4 A So if you're asking me if it's limited to the
   5      today?                                             5   inpatient setting, no. I also have seen patients
   6 A     As I have already stated to you, correct.         6    in my outpatient setting who express
   7 Q    And have you ever diagnosed anyone as having 7         sex-discordant gender identity that I care for
   8      gender dysphoria?                                  8    other diseases, including type 1 diabetes.
   9 A    Are you asking me whether I've gone through the 9 Q And some of those patients are being treated with
  10     checklist in the DSM-5 to formally determine 10          hormone therapy?
  11      whether one has that -- that condition?           11 A As -- yes.
  12 Q    Yes. Have you ever gone through the criteria in 12 Q And have you ever been physically present for a
  13     the DSM-5-TR and made a diagnosis of gender 13          discussion between a provider and a patient about
  14      dysphoria for a patient?                          14    treatment options for gender dysphoria?
  15 A    Well, since I'm a pediatric endocrinologist, that 15 A In the setting of my role in cofounding the
  16     is not within my purview and so, no, I have not 16       Disorders of Sexual Development Clinic at
  17      done that.                                        17   Washington University, for many years we would
  18 Q     And I think you sort of alluded to this earlier, 18   have regular monthly meetings where we discuss
  19     but have you ever had a patient under your care 19      care, and some of those discussions did involve
  20      that someone else diagnosed with gender           20   issues of sexual identity and -- and how to best
  21      dysphoria?                                        21   manage those patients, so, yes, in that setting I
  22         MR. RAMER: Objection to form.                  22    have.
  23 A     So I certainly have cared for individuals that 23 Q Other than in that setting?
  24      present to me informing me that they have 24 A I'm trying to remember if -- certainly I've had
  25     sex-discordant gender identity and I provided 25        conversations with my trainees, but I have not

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   1   care with them. My discussions and treatment has      1     participated directly in the gender clinic at
   2    been focused upon the presenting endocrine           2     Washington University.
   3   disorder and that's where the focus of my care        3 Q   And no conversations with -- with a physician or
   4    has been. We've not delved into any greater          4     other provider and a patient; is that correct?
   5   detail about who made the diagnosis, who was          5 A   Cannot recall a time where I've -- I've had a
   6    treating them for other issues except as it          6     conversation with one of my colleagues who is
   7    relates to the presentation of the endocrine         7     providing care at that gender center together
   8    disorder that I'm being asked to care for.           8     with a patient at that time where they were
   9 Q So for those patients that are under your care        9     discussing gender-affirming medical care, that is
  10    for an endocrine condition that's not gender        10     correct.
  11   dysphoria, have any of them been treated with        11 Q   And you've also mentioned this, but you're
  12    gender-affirming hormone therapy?                   12     currently affiliated with the Department of
  13       MR. RAMER: Objection to form.                    13     Pediatrics at Washington University School of
  14 A So I am -- for example, we have patients that        14     Medicine in St. Louis; is that -- did I get that
  15    have type 1 diabetes that also experience           15     right?
  16   sex-discordant gender identity that have been        16 A   My primary appointment is in the Department of
  17   admitted to our psychiatric unit that have been      17     Pediatrics as an associate professor.
  18    receiving gender-affirming hormonal                 18 Q   And is the St. Louis Children's Hospital the
  19    interventions, and my role in those cases is        19     pediatric teaching hospital for Washington
  20    making sure that their diabetes is adequately       20     University School of Medicine?
  21   cared for while they're being hospitalized. It       21 A   That is correct.
  22   has not been my responsibility to supervise or       22 Q   And do you work at the St. Louis Children's
  23    change the administration of that                   23     Hospital?
  24    gender-affirming hormonal medication.               24 A   My clinic is -- is at the St. Louis Children's
  25 Q And other than in a inpatient context, any of        25     Hospital, correct.

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Case 1:23-cv-00595-JPH-KMB             Document 58-5          Filed 06/12/23      Page 10 of 107 PageID
  K.C., et al. VS                                #: 3319                              PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                             June 1, 2023
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   1 Q And there is a transgender clinic at the              1       MR. RAMER: Objection to form.
   2    St. Louis Children's Hospital called the             2 A Okay. I will state again that I'm not a
   3   Washington University Transgender Center; is that     3   legislator, nor a politician. My understanding,
   4    right?                                               4   again, from what I've read in the news reports is
   5 A That is correct.                                      5   that this care -- or the legislation in Missouri
   6 Q And at that center -- excuse me. The Center, the      6    actually has a -- a clause where it is
   7   Washington University Transgender Center, treats      7   restricting care for new patients. Again, my
   8    adolescent patients with gender dysphoria; is        8   understanding is that it doesn't apply to people
   9    that correct?                                        9    that are currently receiving care, but, again,
  10        MR. RAMER: Objection to form.                   10    I'm not up to date on that legislation and I
  11 A That is my -- that is my understanding, correct.     11    don't know for sure the details.
  12 Q And as part of the treatment provided at that        12 Q I'm not asking about the specifics of the
  13    clinic, they prescribe pubertal suppression to      13    legislation. I'm asking if at your place of
  14    treat gender dysphoria?                             14  employment there's been any communication about
  15 A It is my understanding that they are using the       15    the potential changes with respect to the
  16    affirmative model, which includes the               16   provision of care that you have been made aware
  17   administration of GnRH agonists, also known as       17    of?
  18   puberty blockers, and cross-sex hormones, meaning    18       MR. RAMER: Objection to form.
  19    the administration of estrogen to a biological      19 A There has been -- there has been no formal
  20   male and the administration of testosterone to a     20  communication from the administration in any way
  21    biological female.                                  21    with respect to that legislation.
  22 Q Are you aware that Missouri has recently passed a    22 Q And if -- if the -- let me -- let me -- excuse
  23    law like Senate Enrolled Act 480?                   23    me. So if Missouri were to prohibit the
  24        MR. RAMER: Objection to form.                   24   provision of gender-affirming care to adolescents
  25 A I'm aware that -- I don't know the details of the    25   with gender dysphoria, is it your view that the

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   1   actual legislation, but I am aware that they have     1   patients at the Transgender Care Center would all
   2    passed legislation in that regard, yes.              2    benefit from that change?
   3 Q And so -- so under this legislation, hormonal         3        MR. RAMER: Objection to form.
   4   treatment for adolescents with gender dysphoria       4 A I think it's a hard question for me to answer
   5    like the ones we've been discussing will be          5    since I don't know the specifics of the -- and
   6    prohibited in Missouri?                              6   it's a hypothetical as far as what would happen.
   7        MR. RAMER: Objection to form. Calls for a        7   I think there are many potential outcomes that
   8    legal conclusion.                                    8    could come from the recognition, as I have
   9 A Again, I am not a legislator and I don't know the     9    testified or am testifying in this case, about
  10    exact details of that legislation. My vague         10   the known and potential risks of gender-affirming
  11   understanding just from news reports that I've       11    therapies in relation to the purported benefits.
  12    read is that this legislation is similar to those   12    There is opportunities on several fronts to be
  13   that have been passed in multiple other states       13   able to shift the focus of care that will be more
  14    within the last year.                               14   in alignment with what is being done in Europe
  15 Q So you've not heard any conversations within the     15   and other areas of the world, the provision -- or
  16   hospital where you work about the impact of          16   the engagement in the high quality research that
  17   recent legislation on the care of patients at the    17    needs to be done and in efforts to be able to
  18    Transgender Center?                                 18    find ways to alleviate suffering in this patient
  19 A I certainly have had, as I do in many other          19    population that -- that minimizes risks and
  20   areas, hallway conversations with colleagues, but    20    maximizes benefit.
  21   nobody that has any more insight than I do about     21 Q So one potential benefit would be -- excuse me.
  22    that legislation.                                   22    One potential benefit of prohibiting medical
  23 Q So you haven't heard about what's going to happen    23   interventions for gender dysphoria would be the
  24    to patients at the Transgender Care Center if       24    initiation of high quality research; is that
  25    their medical treatment is -- is cut off?           25    right?

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  K.C., et al. VS                                #: 3320                              PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                             June 1, 2023
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   1        MR. RAMER: Objection to form.                   1        "In the care of these patients, I have
   2 A So there's much potential for engaging into the      2    acquired expertise in the understanding and
   3    research that needs to be done to study this        3   management of associated difficulties in gender
   4    condition and optimal interventions to fill in      4   identification and gender transitioning treatment
   5    the very notable gaps in the scientific             5    issues."
   6    knowledge.                                          6        Did I read that correctly?
   7       I have advocated, actually, for the conduct      7 A Yes.
   8   of proper research studies for many years with my    8 Q And the expertise you note here related to what
   9   colleagues at Washington University, and this has    9    you call gender transitioning treatment issues,
  10    the potential, if -- to -- to move in the          10   that's based on the treatment of patients with --
  11    direction of having that -- that approach          11    with DSDs; is that right?
  12    critically evaluated and the research be           12 A Well, I would -- I would not agree that this is
  13    conducted.                                         13    gender transitioning. These are issues related
  14 Q So, in general, in the area of treatment of         14   to gender identity and trying to make a prudent
  15    adolescents with gender dysphoria, you're in       15   decision about outcomes where there's significant
  16    favor of more research; is that right?             16    ambiguity.
  17 A I'm a physician scientist. I'm always in favor      17        I think in the condition of disorders of
  18   of more research. And given the paucity of high     18    sexual development, this is very distinct from
  19    quality data in this field, I think it's an        19    the question of gender dysphoria. In these
  20    imperative that we perform higher quality          20    situations these patients are born with genital
  21    research studies in this area.                     21   ambiguity, many times with much uncertainty as to
  22 Q So when patients are receiving hormonal treatment   22    the actual sexual identity of these individuals,
  23   for gender dysphoria or for any condition, is it    23    and the goal here is to be able to use all of the
  24    safe to have those treatments stopped              24    information that we have available to make a
  25    immediately?                                       25   prudent decision about how they will best be able

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   1 A Well, it depends on -- that's a very broad           1     to function with their physiology and, again,
   2    question. There are many different types of         2      very different than the question of gender
   3   treatments, some of which would be amenable to       3      dysphoria, and we would not consider the
   4    more immediate cessation.                           4      involvement of these decisions to be a
   5         I would say that in the delivery of care       5      transition. It is trying to correctly identify
   6   with hormonal interventions such as testosterone     6     the actual sexual identity of that individual and
   7    or estrogen, there is no science about the          7     how they can best live their life in relation to
   8   optimal way that one would wean off of that, but     8      that.
   9   it would make sense, it would be very prudent        9 Q    So the -- so the expertise that you're discussing
  10   to -- to do this in a gradual manner. We do have    10     in paragraph 11 here is distinct from gender
  11   established data on the effects of abrupt changes   11     dysphoria?
  12    in sex therapy hormone levels and know the         12 A    So -- well, let me -- let me clarify, okay.
  13    adverse effects on psychological health. The       13     There are questions related to one's sexual
  14   best example that I can give is what we see in      14     identity and one's understanding of that sexual
  15    postpartum depression.                             15     identity. There is overlap in that regard, but
  16 Q So going back to your declaration which is          16     there's a difference in that in disorders of
  17    Exhibit 1, Kim, if you could pull -- pull that     17     sexual development, one is most often, if not
  18   up. And going to paragraph 11. Sorry, I have it     18     exclusively, dealing with people that have
  19    as paragraphs here, not pages.                     19     impaired or absent fertility at the time that one
  20        So -- so Dr. Hruz, here you're talking about   20     is intervening as opposed to those that have
  21  your experience founding -- as a founding member     21     gender dysphoria that have normally formed and
  22    of the multidisciplinary Disorders of Sexual       22     functioning sexual anatomy prior to the
  23   Development program, and -- and you write -- and    23     engagement in gender-affirming medical
  24    I'll read it, so follow -- follow along because    24     interventions.
  25    it's very likely I'll make a mistake.              25 Q    I'm just asking about this paragraph. You're

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  K.C., et al. VS                                #: 3321                                PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                               June 1, 2023
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   1   referring to particular expertise gained in the         1    to the treatment of gender dysphoria?
   2   context of treating individuals with disorders of       2 A Yes, I have.
   3    sexual development; is that right?                     3 Q And what was that?
   4 A This is in relation to issues of gender                 4 A In my role in the fellowship program, there are
   5    identification, correct.                               5   several of our fellows that are currently engaged
   6 Q And then moving to paragraph 13, and here at the        6    in research projects related to adverse effects
   7   bottom with the sentence beginning, "Pediatric          7   of gender-affirming medical interventions. In my
   8    patients," I'm going to just read this to you.         8   role as the associate program director, one of my
   9   You write, "Pediatric patients referred to our          9    responsibilities is to supervise that research,
  10    practice for the evaluation and treatment of          10   to assist the fellows in setting up the research
  11    gender dysphoria are cared for by an                  11   projects, evaluate their progress in performing
  12   interdisciplinary team of providers that includes      12    that research and being able to effectively
  13   a psychologist and pediatric endocrinologist who       13    disseminate the results of the research in that
  14   have been specifically chosen for this role based      14   area. And, again, I'm not the mentor, nor am I
  15    upon a special interest in this patient               15    the principal investigator of these trials. My
  16    population."                                          16   role is limited to the supervision and guidance
  17       Did I read that correctly?                         17    of those fellows.
  18 A That is correct.                                       18 Q And how many of these trials that you're serving
  19 Q And when you say here "referred to our practice,"      19    as the fellowship supervisor for are there?
  20    what practice are you referring to?                   20 A Currently there are two fellows involved in two
  21 A So I'm referring to those that are -- are seeking      21    separate research projects related to gender
  22    care at our -- our gender dysphoria clinic at         22    dysphoria.
  23    Washington University.                                23 Q And what types of studies are these two fellows
  24 Q But you aren't personally involved in -- in the        24    conducting?
  25   treatment of those patients seeking evaluation         25 A The first fellow -- both of them are senior


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   1     and treatment for gender dysphoria; right?            1   fellows, soon to graduate and join our faculty.
   2 A    As I've already stated, both in my declaration       2    One is doing a randomized controlled trial on
   3     and this morning, that is correct.                    3   different estrogen preparations and looking for
   4 Q    And so -- and when you say you refer them, you       4    thromboembolic risk related to these different
   5     refer them to the gender care clinic?                 5    forms of estrogen administration.
   6 A   I do not make referrals. The patients through         6       The other fellow is doing a research project
   7     our office staff will contact our division and        7    related to the effect of a androgen receptor
   8     they will be -- set up the appointment within the     8    blocker by the name of bicalutamide --
   9     gender clinic.                                        9    bicalutamide in liver toxicity.
  10 Q   So you do not personally refer them?                 10 Q So just going to the first trial with respect to
  11 A   That is correct.                                     11    the estrogen that you described, that's a trial
  12 Q    So I'm trying to think -- we can just leave this    12   that's comparing two formulations of estrogen to
  13     up.                                                  13    treat patients with gender dysphoria; is that
  14        Have you conducted any clinical research          14    correct?
  15     related to gender dysphoria or the treatment of      15 A I would say more than one preparation to be able
  16     transgender people generally?                        16    to ascertain if there is a difference in
  17         MR. RAMER: Objection to form.                    17   thromboembolic risk with these different estrogen
  18 A    So I guess your question is have I been the         18    preparations, correct.
  19     principal investigator of a clinical trial           19 Q And, I'm sorry, the second trial, can you explain
  20     related to the treatment of gender dysphoria?        20    that one again? And apologies, I'm not
  21 Q    Sure. Have you been the principal investigator      21    scientifically literate here.
  22     in a clinical trial related to the treatment of      22 A So this is actually a retrospective chart review
  23     gender dysphoria?                                    23    of patients that have been exposed to the
  24 A    I have not.                                         24    androgen receptor blocker bicalutamide and
  25 Q    Have you had any role in a clinical trial related   25   looking at evidence of hepatic or liver toxicity.

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  K.C., et al. VS                                #: 3322                                PAUL W. HRUZ, M.D., PH.D.
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   1 Q   So that is not a randomized controlled trial?       1   individuals with gender dysphoria; is that -- is
   2 A   That is correct.                                    2    that right?
   3        MR. STRANGIO: Okay. If we could pull up,         3 A I'm sorry, are we in invited or are we under the
   4     please, Kim, Exhibit 2, and -- and turn to          4    journal articles?
   5     page 7.                                             5 Q Under the journal articles, that would be two
   6        Maybe scroll down, please, a bit. Okay,          6   articles concerning the treatment of individuals
   7     yeah, to the next page where it's a bibliography. 7      with gender dysphoria; is that right?
   8     Great. Thank you.                                   8 A You have to scroll up a little bit so we can be
   9 Q    So, Dr. Hruz, this is the section of your -- of 9       looking at them.
  10     your CV titled "Bibliography." Is this a list of 10           MR. STRANGIO: Yeah, Kim, if you could --
  11     publications that you have authored?               11    it's actually a little more up, in the earlier,
  12 A    That is correct, either as a first author, senior 12    like the 40s. There we go.
  13     author or contributing author.                     13         THE WITNESS: There we go.
  14 Q    So -- and here you have 52 publications listed 14            MR. STRANGIO: That's good, stop there. No,
  15     as, A, Journal Articles. Is that academic          15    no, not that far. A little bit down. Okay.
  16     journal articles?                                  16 A So, yes, looking at the paper of first author
  17 A    Yes.                                              17   Malone and the paper in the Linacre that I was
  18 Q    And then scrolling down, there's three book 18          the sole author of, that's correct.
  19     chapters; is that correct?                         19 Q Okay. And so just to be specific, this -- that
  20 A    Yes.                                              20   would be "Deficiencies in Scientific Evidence for
  21 Q    And then eight invited publications?              21   Medical Management of Gender Dysphoria" in the
  22         MR. RAMER: Sorry, Chase, where are we? 22            Linacre Quarterly?
  23         MR. STRANGIO: Yeah, so, sorry. Kim, if you 23 A That is correct.
  24     could scroll, it's past -- there's the 52 journal 24 Q And then the second one would be the letter to
  25     articles. Just trying to get the lay of the land 25     the editor from primary author William Malone

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   1     here.                                                 1   regarding the "Proper Care of Transgender and
   2 Q   Okay. So then we have the -- this is then             2   Gender Diverse Persons in the Setting of Proposed
   3     subsection C2 here is the three book chapters,        3    Discrimination: A Policy Perspective"?
   4     and then there's I believe eight invited              4 A That is correct.
   5     publications, right there.                            5 Q And the first publication is in a journal called
   6 A   That is correct.                                      6    the Linacre Quarterly; is that right?
   7 Q   And so what is the difference between a               7 A That is correct.
   8     publication and an invited publication?               8 Q And the Linacre Quarterly is the official journal
   9 A   Generally the invited publications, I was             9    of the Catholic Medical Association; is that
  10     contacted by an editor or interested party asking    10    right?
  11     if I would contribute a paper for that. The --       11 A It is an -- the longest standing published ethics
  12     the first section with the 52 papers are usually     12    journal in the United States that is run by the
  13     submissions that unsolicited I submit to the         13    Catholic Medical Association, correct.
  14     journal for publication. These are papers that I     14 Q And the second article listed here is a letter to
  15     was asked to contribute a scholarly article          15    the editor; is that right?
  16     and -- and then engaged in the writing of that       16 A In the Journal of Clinical Endocrinology and
  17     paper.                                               17    Metabolism, correct.
  18 Q    Understood. Is that the only difference for         18 Q And you have two book chapters related to
  19     purposes of your CV?                                 19   transgender people and gender dysphoria; is that
  20 A    For the purposes of the CV, I would say correct.    20    right?
  21 Q    And so going back just a little ways to the -- to   21 A That is correct.
  22     the publications, you have two articles -- no,       22 Q And the first is "Medical Approaches to
  23     down at the bottom is fine, sorry. Yes, here.        23    Alleviating Gender Dysphoria," and that was
  24         Under the publications, you have two             24   published in the book "Transgender Issues in
  25     articles that concern the treatment of               25    Catholic Health Care"; is that right?

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  K.C., et al. VS                                #: 3323                               PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                              June 1, 2023
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   1 A That is correct.                                       1        MR. STRANGIO: Well, if we could pull up
   2 Q And the second is "A Biological Understanding of       2    Exhibit 7 and go down to -- a little further.
   3   Man and Woman," and that was in the book "Sexual       3    This is the "About Us" section of The New
   4   Identity: The Harmony of Philosophy, Science and       4    Atlantis. Keep going down. I'm sorry, it's at
   5    Revelation"; is that correct?                         5    the very bottom here. Further. So here. It
   6 A That is correct.                                       6    says "Who We Are."
   7 Q And that second book, "Sexual Identity," was           7 Q So The New Atlantis says, "We are not an academic
   8   published by Emmaus Road Press; is that right?         8   journal but a journal of public" -- sorry, excuse
   9 A That is correct.                                       9   me. "We are not an academic journal but a public
  10 Q And if we could go to Exhibit 6. And Emmaus Road      10    journal of ideas."
  11   Publishing Company, according to their website,       11        So The New Atlantis would not describe
  12   is a Christian publishing company driven with a       12    itself as an academic journal?
  13   passion to proclaim the gospel of God's grace to      13        MR. RAMER: Objection to form.
  14    the nations of the earth; is that right?             14 A If you scroll up under their aims, they address
  15        MR. RAMER: Objection to form.                    15   issues that I would consider academic questions,
  16 A So you've read that correctly.                        16    and in that respect it would be academic.
  17 Q And so any reason to believe that that is not the     17        So, again, I'm -- I'm not on the editorial
  18    description of the Emmaus Road Press?                18   board of this journal. I have no knowledge of
  19        MR. RAMER: Objection to form.                    19   the workings of -- of their overall goals, but I
  20 A Again, you know, I'm not opining as a theologian      20   would say that it does discuss ideas that would
  21   nor making judgments, but you presented a web         21    fall into the area of academic discussion.
  22    page that expresses their purpose, and that is       22 Q It's not a peer-reviewed journal; right?
  23    consistent with my understanding as well.            23 A This question has come up repeatedly. Many times
  24        MR. STRANGIO: And then going back to             24   these types of publications are reviewed by the
  25    Exhibit 2, Kim, thank you, and to the invited        25    editorial board, and for the questions being

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   1     publications.                                        1    explored, the editors themselves could be
   2 Q    There are three invited publications concerning     2    considered the peers, but it differs in the
   3     gender dysphoria or transgender people; is that      3   review mechanism that are generally done for the
   4     correct?                                             4    other 52 publications that I have mentioned
   5 A   Yes.                                                 5    earlier in my CV.
   6 Q   And these include "Growing Pains: Problems With      6 Q So it has an editorial review process?
   7     Pubertal Suppression in Treating Gender              7        MR. RAMER: Objection to form.
   8     Dysphoria" in The New Atlantis; is that right?       8 A That is my understanding, correct.
   9 A    That is correct.                                    9 Q But it doesn't have -- it's not reviewed by,
  10 Q   "The Use of Cross-Sex Steroids in Treating Gender   10    let's say, other endocrinologists?
  11     Dysphoria" in the National Catholic Bioethics       11        MR. RAMER: Objection to form.
  12     Quarterly?                                          12 A Well, first off, I'm not a member of this
  13 A   That is correct.                                    13   organization, so I don't fully know the workings
  14 Q   And "Experimental Approaches to Alleviating         14    of how they handle manuscripts.
  15     Gender Dysphoria in Children" in the National       15       My experience in submitting this paper was
  16     Catholic Bioethics Quarterly?                       16   going through the article and addressing multiple
  17 A   That is correct.                                    17    questions that were raised by the editor and
  18 Q    And so the "Growing Pains" article from 2017,      18   revising the paper to make as clear as possible
  19     that's in The New Atlantis; right?                  19   of a document for the purposes that I wrote the
  20 A    Correct.                                           20    paper.
  21 Q   And The New Atlantis is not an academic journal;    21        MR. RAMER: Chase, if you have a good break
  22     is that right?                                      22   point coming up, we've been going a little over
  23 A   Many would disagree with that statement. I think    23    an hour.
  24     it is an academic publication different than the    24        MR. STRANGIO: Yeah, now is as good a time
  25     ones that are listed earlier in my CV.              25    as any, so take five.

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  K.C., et al. VS                                #: 3324                               PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                              June 1, 2023
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   1       MR. RAMER: Doctor, does that work for you?         1     endocrinologist.
   2       THE WITNESS: That would be fine.                   2 Q   And for the publication that you mentioned on the
   3       (At this time a recess was taken.)                 3     adverse effects of estrogen treatment, how are
   4 BY MR. STRANGIO:                                         4     you studying those?
   5 Q Okay. So we left off, we were talking about The        5 A   As I have throughout my entire time being
   6   New Atlantis publication. And so The New               6     involved in this conversation, that I have been
   7   Atlantis was founded by the Ethics and Public          7     very much aware of the emerging data, what is
   8   Policy Center; is that right?                          8     being done within the published literature, and
   9 A You would know more than I, but I believe that's       9     all of the information that's available with the
  10   correct.                                              10     studies that have been published or that are
  11 Q And the Ethics and Public -- does it sound            11     being proprosed.
  12   correct to you that the Ethics and Public Policy      12 Q    So that publication will be a review of existing
  13   Center is working to apply the riches of the          13     data?
  14   Judeo-Christian tradition to contemporary             14 A    So if you're asking, I am not currently doing a
  15   questions of law, culture and politics in pursuit     15     clinical trial involved -- a randomized
  16   of America's continued civic and cultural             16     controlled trial or any of that nature as a
  17   renewal?                                              17     principal investigator. It's merely looking at
  18       MR. RAMER: Objection to form.                     18     the evidence and being able to present it in a
  19 A It sounds like you're reading that off of some        19     way that will help our profession in assessing
  20   statement that I assume you obtained from their       20     the relative risks and purported benefits of the
  21   website. I have no basis to judge that, but it        21     affirmative model of care as relates -- as it
  22   is consistent with my understanding.                  22     relates to pediatric endocrinology.
  23 Q And the publications that we've just gone             23 Q   And when you say "looking at the evidence," what
  24   through, are they all of your publications            24     evidence are you looking at for that particular
  25   related to transgender people and/or the              25     paper?

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   1     treatment of gender dysphoria?                       1 A Looking at the -- the published literature
   2         MR. RAMER: Objection to form.                    2    available on outcomes, all of the research that
   3 A    I have been as complete as I possibly can in        3   has been done, and the emerging data regarding
   4     listing all of my publications that I've had         4    adverse effects.
   5     throughout my career, correct.                       5 Q And what is that emerging data?
   6 Q    Are you currently working on any additional         6 A Well, it includes, for example, the systematic
   7     publications related to the treatment of gender      7   reviews that were done in Finland and Sweden,
   8     dysphoria or transgender people?                     8   including the peer-reviewed published article in
   9 A   Yes.                                                 9    Acta Pediatrica that was just published
  10 Q   And what are those?                                 10   summarizing the basis for which Sweden made the
  11 A   I have several that are in the process of           11   decision to relegate any of this affirmative care
  12     drafting related to the topics that were            12    to the context of a controlled clinical trial.
  13     contained within my declaration. I have one that    13   It includes the evidence that has come forward in
  14      is involving the adverse effects of cross-sex      14    the NICE reviews in the United Kingdom. It
  15     hormones, estrogen, in biological males, and        15   includes the emerging data, again, in relation to
  16      early drafting of several other manuscripts,       16   the adverse effects of -- on bone health within
  17     trying to be able to contribute to the literature   17   those that are receiving blockaded normally timed
  18     in an effective way of pointing out the ongoing     18    puberty, and there are many other aspects that
  19     growing recognition of the limitations of the       19   I'm looking at in relation to what we do and do
  20      scientific evidence and the more recent            20    not know about those interventions.
  21     publications showing the emergence of adverse       21 Q One other question on your CV. So going back to
  22      effects and lack of efficacy in the treatment      22    page 1.
  23     approaches using the affirmative model, and this    23        MR. STRANGIO: And that would be, Kim,
  24     includes many of the metabolic and hormonal         24    Exhibit 2. Can -- oh, thanks, sorry, I ought to
  25     effects that are within my area as a pediatric      25    be more patient. And, yeah, so -- it's very

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Case 1:23-cv-00595-JPH-KMB             Document 58-5         Filed 06/12/23        Page 16 of 107 PageID
  K.C., et al. VS                                #: 3325                               PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                              June 1, 2023
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   1     small for me. Hold on. Okay. So to the -- so        1 A So, again, I'm not testifying in this case
   2     page 1, and scrolling down a bit to the education   2    specifically about the diagnosis. Yet if one
   3     section. I don't need to go through everything      3   were to go through the DSM-5 criteria and ask the
   4     here, but -- we can stop there, Kim. Thank you.     4   patients about their experience and they would
   5 Q    So, Dr. Hruz, the last listing in your education   5    report that to fulfill that criteria, those
   6     is the 2017 Certification in Healthcare Ethics 6         patients do exist.
   7     from the National Catholic Bioethics Center; is 7             MR. STRANGIO: And if we could pull up
   8      that right?                                        8   Exhibit 1, please, Kim, paragraph -- sorry, top
   9 A     That is correct.                                  9   of page 30, paragraph 55. Yeah, we can -- it's
  10 Q     What did that entail?                            10   between 29 and 30. Yeah, that's great. Thank
  11 A    This was a year-long study, which was primarily a 11    you.
  12     correspondence course of reading ethics-based 12 Q And so here in your declaration, you're talking a
  13     articles. There were two in-person meetings, 13          little bit about gender dysphoria. And at the
  14      both at the beginning and at the end of the 14         top of page 40 you write, "Gender dysphoria is
  15      certification process, and, in fact, one of the 15      associated with high rates of comorbidity,
  16      papers that's listed in my CV under Invited 16         including suicidal ideation, depression, anxiety,
  17     Publications was the product of -- of the paper 17      poverty, homelessness, eating disorders and HIV
  18      that I wrote as part of that certification        18    infection."
  19      program.                                          19         Did I read that correctly?
  20 Q     Got it. Thanks.                                  20 A You did indeed read that correctly.
  21         MR. STRANGIO: Okay. Kim, we can take -- we 21 Q And you would consider poverty and homelessness
  22     can take this down. And we can maybe just pull 22        to be comorbidities?
  23     up Exhibit 1 just to have it nearby. Thank you. 23 A They're associated difficulties that these
  24 Q     So -- so, Doctor, do you believe that there are 24     individuals experience, yes.
  25     some people who have a gender identity that 25 Q Why do you think people with gender dysphoria are

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   1     differs from their natal sex?                       1     disproportionately homeless?
   2 A   If you are asking me if there are individuals       2        MR. RAMER: Objection to form.
   3     that have a sex-discordant gender identity, the 3 A        Well, that's -- leads to significant speculation.
   4     answer would be yes.                                4     I think that there are many questions that remain
   5 Q    What is a sex-discordant gender identity?          5     unanswered regarding etiology. And when one
   6 A    Well, as -- as I understand it, individuals that 6       looks at the literature, one can look at things
   7     perceive their sexual identity that is discordant 7       that are antecedent or subsequent to the
   8     with their biological sex, so that includes         8     expression of sex-discordant gender identity.
   9     biological males that identify as women and 9             This is an area that is definitely in need of
  10     biological females that identify as men.           10     additional research.
  11 Q    And you would agree -- and then are there 11                There are -- I would say that to summarize,
  12     adolescents who would fit this description? 12            the best understanding of the etiologic basis
  13 A    There indeed would be adolescents that have that 13      and, you know, the associations that one sees
  14     experience.                                        14     between these other comorbidities, there can be
  15 Q    And -- and for this population with this          15     both questions about cause versus effect.
  16     discordance, can it cause severe distress?         16 Q   So does comorbidity mean a co-occurring diagnosis
  17 A    Well, if -- if you look at the definition of the 17      or just any correlating phenomena?
  18     DSM-5 for gender dysphoria, by definition it 18               MR. RAMER: Objection to form.
  19     requires one to have the stress related to that 19 A       Well, morbidity means to -- things that are --
  20     experience, correct.                               20     are contrary to health. Comorbidity means they
  21 Q    And so you would agree that there are some people 21     occur at the same time, and by definition that's
  22     who would meet the criteria of gender dysphoria 22        what we mean by comorbidity.
  23     as outlined in the DSM-5 text revision; is that 23 Q      And do you think that the -- that the comorbidity
  24     right?                                             24     of homelessness could be related in part to
  25         MR. RAMER: Objection to form.                  25     discrimination in society?

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  K.C., et al. VS                                #: 3326                              PAUL W. HRUZ, M.D., PH.D.
  The Individual Members of the Medical Licensing Board                                             June 1, 2023
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   1        MR. RAMER: Objection to form.                    1   resultant to the sex-discordant gender identity
   2 A So if you're referring to the social stress           2    is a matter of active discussion.
   3    hypothesis, that is one of the areas that -- that    3 Q But would you agree that, say, homelessness in a
   4    people have considered as a reason for that,         4   six-year-old is probably not antecedent to the
   5    among others.                                        5    sex-discordant gender identity?
   6 Q Well, I'm not -- I'm not even referring to any --     6        MR. RAMER: Objection to form.
   7    any hypothesis. I'm just asking you since you        7 A Well, again, you're asking me to speculate on a
   8    wrote it here in your declaration, do you think      8    hypothetical with -- there are many other
   9    that one possible contributing factor to the         9    contributing factors. In the hypothetical that
  10    comorbidity of homelessness could be societal       10   you posed, not clear what the family dynamics
  11    discrimination?                                     11   are, whether the parents themselves are homeless,
  12        MR. RAMER: Objection to form.                   12    whether that had any influence at all on the
  13 A By the way that you ask the question, you're         13   presentation that saw a child with sex-discordant
  14   asking me to opine on a hypothesis, and I stated     14    gender identity, so one cannot make blanket
  15    that very clearly.                                  15   statements. One can entertain various hypotheses
  16 Q What -- I'm sorry, I didn't understand your          16    as to the factors that contribute to that
  17    answer to my question about the hypothesis.         17    experience.
  18 A Well, please ask the question again.                 18 Q But, so as you're explaining it now, familial
  19 Q Do you -- let me ask it this way. Do you think       19   homelessness could contribute to sex-discordant
  20   that poverty and homelessness, which you identify    20    gender identity?
  21   as comorbidities of gender dysphoria, could be       21 A I'm not familiar with the term familial
  22    related to societal discrimination?                 22    homelessness, but if you're referring to
  23        MR. RAMER: Objection to form.                   23   individuals that -- that are exposed to various
  24 A So by stating it as a could this be a factor,        24   psychosocial traumas and difficulties, there is
  25    that is a hypothesis.                               25   much that has been proposed as a hypothesis that

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   1 Q Is it one of your hypotheses?                         1     that might contribute to the emergence of
   2 A I as a physician scientist entertain all possible     2     sex-discordant gender identity in some
   3   hypotheses. Not all hypotheses have the same          3     individuals.
   4    merit. They're based on different scientific         4 Q    Is there any evidence of that in the research
   5    premises and associated data in support or           5     literature?
   6    contrary to that. It is a hypothesis that has        6 A    I would say there's evidence. It was not very
   7    been put forward, and as a good physician            7     high quality evidence, and much of this relates
   8   scientist, one needs to very seriously consider       8     to anecdotal reports. There is very good data
   9    that as a possibility.                               9     showing the co-occurrence of these psychiatric
  10 Q And what are some other hypotheses of why there      10     comorbidities in this patient population in
  11   is this comorbidity of poverty and homelessness      11     relation to people that have other psychological
  12    with gender dysphoria?                              12     morbidities that are independent of
  13        MR. RAMER: Objection to form.                   13     sex-discordant gender identity showing similar
  14 A Again, in my perspective as a pediatric              14     types of difficulties.
  15    endocrinologist and physician scientist, one        15 Q    But in this particular sentence, then, you are
  16   needs to recognize that when one looks at this       16     citing some comorbidities which appear in the
  17   question, there are many of these comorbidities      17     literature only in the form of anecdotal reports
  18   that predate the onset of any understanding of       18     and what you would consider not high quality
  19    sex-discordant gender identity. It's very well      19     evidence; is that right?
  20    established in the literature that those that       20        MR. RAMER: Objection to form.
  21   suffer from various psychological and psychiatric    21 A    The statement here is a statement of fact that
  22   disorders, including depression, that that can be    22     these associations do occur, and it is not
  23   associated with socioeconomic status, the ability    23     possible with the available evidence to make a
  24    to have and to hold a job, so all of these are      24     conclusive statement about cause versus effect,
  25    factors, and whether they are antecedent or         25     but I think it is very well established, I think

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   1    by everyone that is aware of this patient           1 Q And so it's not very long. If you want to read
   2   population, that these comorbidities do exist and    2    it now and tell me where -- where in this
   3    I think that that is fairly solid data about        3    document there's a reference to encouraging
   4    co-occurrence.                                      4   children to embrace a transgender identity as you
   5 Q And so going to also in this exhibit, page 30,       5    write, that would be helpful.
   6    just a little ways down in paragraph 56.            6 A Okay. Thank you very much.
   7        MR. STRANGIO: Okay, you can stop there.         7        MR. STRANGIO: And, Kim, you can follow
   8    Thank you, Kim.                                     8    Dr. Hruz's direction here.
   9 Q So here you write, starting at the beginning of      9 A You can go a little bit faster. We can go
  10    paragraph 56, "Some practitioners promote a        10   through to the meat of the paper here. You can
  11   so-called gender-affirming approach to treating     11   go down to the actual text of the paper. This is
  12   gender dysphoria which involves affirming the       12    just the abstract here. I think you can go
  13    child's present gender identity. This              13   further. Hold one second. Go back, go back up.
  14   affirmation may have social, medical, legal and     14   Why don't you go down a little bit further. You
  15   behavioral dimensions. Typically, this affirming    15    can go down a little bit further. Actually, I
  16    approach encourages children to embrace            16   want to just get a lay of the entire paper here.
  17    transgender identity with social transitioning,    17        I notice in the paper here, it addresses the
  18  followed by puberty blockade and hormonal therapy    18   question that you asked earlier. These authors
  19    (cross-sex hormones) and potential surgical        19   of this paper make the same statement that I made
  20    interventions."                                    20    as far as the disproportionally high rates of
  21        Did I read that correctly?                     21   comorbidities and mental health issues associated
  22 A Yes, you did read that correctly.                   22    with that.
  23 Q And so I want to talk about this part of the --     23        So this paper is addressing concerns
  24    this sentence where you write, "Typically this     24    relating to the legislation that is being put
  25   affirming approach encourages children to embrace   25    forward to limit this care. It sets up

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   1    a transgender identity."                            1   gender-affirming care as the preferred approach,
   2        Do you see that part of the sentence?           2   which I've seen many times in many other papers,
   3 A I do.                                                3    many other publications that I could cite where
   4 Q And the only citation to -- in this sentence as      4    this is -- a question has come up.
   5    far as I understand it is A. Walch, et al.,         5        I will add that further support for that
   6   "Proper Care of Transgender and Gender Diverse       6    statement, you know, comes even from the
   7    Persons in the Setting of Proposed                  7    transition from the -- the initial guidelines, if
   8    Discrimination"; is that right?                     8   you look at the WPATH. I could have cited that
   9 A That's correct. And my citations are not             9    as well as support for that statement in my
  10    exhaustive of the literature that I've read or     10   declaration. And there are many other statements
  11   that would support that statement, but it is used   11   that have been made by the American Academy of
  12    to support that.                                   12    Pediatrics and other organizations where the --
  13 Q So is there anything in A. Walch, et al., that      13   the recommendations that one be allowed to -- and
  14   you could point to that would be representative     14    that one be affirmed in their gender identity
  15   of encouraging children to embrace a transgender    15    without any critical assessment as to etiology
  16    identity?                                          16    for that is actually strongly advocated, so,
  17        MR. RAMER: Objection to form.                  17    again, there are many other papers.
  18 A Well, to answer that question, I would be very      18        I'm, again, just looking through this very
  19   happy if you would pull up that as an exhibit and   19    quickly here. This citation relates to the
  20   we can go through the paper and look at that        20    advocacy for allowing one to have the
  21    specifically.                                      21    gender-affirming approach.
  22 Q Okay, perfect. So that's Exhibit 9.                 22 Q Well, so -- so I'm happy to have you look at it
  23        Doctor, is this -- is this the right           23    more closely, if -- if you'd like, rather than --
  24    article?                                           24    rather than just quickly so we can answer the
  25 A That is correct, uh-huh.                            25    questions, if you want to take another minute.

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   1 A It would be very easy if I could -- much easier      1     cited later in here the Olson paper looking at --
   2   if I could download it and actually go through it    2     again, it was for a different purpose, of looking
   3   myself, but can you go back up -- again, just so     3     at social affirmation in relation to ongoing
   4    I can reorient myself to your question, you're      4     transition to -- to other forms of gender-forming
   5    looking for a statement in this paper here that     5     medical interventions, and -- but there are other
   6   relates to encouragement or allowing one to have     6     papers that clearly support that, so.
   7    affirmation of their gender identity. I think       7          And it wasn't intended in my declaration to
   8    the whole summary --                                8     be exhaustive in -- in citing all of the
   9 Q Well, let's -- let's stop there, because I don't     9     literature. Obviously, in the context of this
  10   think encouragement and allowing are the same       10     document, it's not possible to put forward all of
  11   thing. Do you think encouragement and allowing      11     the papers that address this question.
  12    are the same thing?                                12 Q    But so where in this paper is there reference to
  13 A No, they are different.                             13     uncritical acceptance of a child's gender
  14 Q Okay. And so I would -- wanted to find where        14     identification?
  15    this paper -- and what you wrote is, "This         15        MR. RAMER: Objection to form.
  16   affirming approach encourages children to embrace   16 A    Well, I -- I would say that I very much
  17    a transgender identity," and then cited this       17     summarized the basis of that paper and, again, it
  18   paper, so what I want to ask you is where in this   18     is advocating for allowing one to have a gender
  19   paper is there reference to encouraging children    19     affirm -- access to gender-affirming care, which
  20    to embrace a transgender identity?                 20     supports that as being a desired outcome.
  21 A As I said, as I'm recalling the paper that I        21 Q    And is it -- is it fair to say that there's
  22    cited here, it seems to be advocating for the      22     nowhere in this paper that specifically
  23    affirmative model, and so, you know, if -- it's    23     references encouraging children to embrace a
  24   making the opinion that these individuals are --    24     transgender identity?
  25   are being harmed if they are not allowed to have    25        MR. RAMER: Objection to form.

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   1    their gender affirmed.                              1 A I would say in the way you're phrasing it in this
   2       Again, there are other publications that I       2    line of questioning, I would agree with that
   3   could cite that really support the claim that I      3   statement, although I would need to -- again, you
   4    make in my declaration.                             4    give me time to scroll through this, I think
   5 Q Okay. And so it's -- it's your position that         5    it -- it really -- I stand by the assertion that
   6   making the claim that children could be harmed if    6   I made in my declaration that that is something
   7    they're not allowed to access a particular          7   that is done, that one views the affirmation of
   8   medication is tantamount to encouraging them to      8   one's sex-discordant gender identity to be the
   9    embrace a transgender identity?                     9   preferred approach to these individuals, and --
  10       MR. RAMER: Objection to form.                   10   and that, again, you know, whether it is being
  11 A No. I would say that there is -- there are many     11   allowed or directly encouraged is -- is -- can be
  12   that make the statement that when one presents      12   gleaned from the way that this is presented in
  13   with a sex-discordant gender identity, that that    13    many of the other papers.
  14    that should be supported and not critically        14 Q But not in this particular paper?
  15    appraised and accepted at face value as the        15        MR. RAMER: Objection to form.
  16   patient who presents desires to have that done.     16 A Again, I would say that this paper here is making
  17       And there are -- in addition to this            17   a very strong argument that they -- the authors
  18   publication, which really I've addressed kind of    18   believe that patients should be allowed to have
  19   how -- what this -- the focus of this paper is,     19    access to gender-affirming hormonal
  20    there are many other publications that are         20    interventions.
  21    available that really put that forward, the        21 Q So making a strong argument that the patients
  22   uncritical acceptance of one's sex-discordant       22    should be allowed to have -- allowed to have
  23   gender identity without exploration as to the       23   access to gender-affirming treatment is, in your
  24    basis for which the sex-discordant gender          24   view, evidence of encouraging children to embrace
  25   identity became apparent. I think I might have      25    a transgender identity?

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  K.C., et al. VS                                #: 3329                             PAUL W. HRUZ, M.D., PH.D.
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   1        MR. RAMER: Objection to form.                   1    transgender identity?
   2 A I would say that this is consistent with this and    2        MR. RAMER: Objection to form.
   3   other papers of having a model by which when one     3 A As -- as we've been discussing, the -- again,
   4    experiences a sex-discordant gender identity,       4    from my perspective as a pediatric
   5    that it is not critically evaluated as to the       5   endocrinologist, just to be very clear, the role
   6   basis for the emergence of that sex-discordant       6   of the endocrinologist, what the endocrinologist
   7   gender identity and one is supported in having       7    is being asked to do is to deliver hormonal
   8   access to social affirmation and gender-affirming    8   medications, whether they be GnRH agonists,
   9    medical interventions.                              9    puberty blockers, or cross-sex hormones to
  10 Q And you said this and other papers, but this is     10   facilitate the gender-affirming approach. It is
  11    the only paper you cited for this sentence; is     11   done together with other practitioners, but the
  12    that right?                                        12   Endocrine Society guidelines, as they are put
  13 A In my declaration it was the only reference.        13   forward, are being addressed to the endocrine
  14    Again, in the ability -- in this type of a         14   community. They do address topics related to the
  15   document, not intended to be exhaustive of the      15   other components of the gender-affirming medical
  16    literature, and, again, it's consistent with my    16   care, but the focus of the recommendations are on
  17    opinion in this case.                              17    the role of the endocrinologist in that
  18 Q In your view, is following the treatment outlined   18    gender-affirming model.
  19   in the current Endocrine Society guideline for      19 Q So let's say there's an endocrinologist who sees
  20   the treatment of gender dysphoria tantamount to     20    a patient and that patient has had a
  21   encouraging a child to embrace a transgender        21   sex-discordant gender identity from a very early
  22    identity?                                          22   age, let's say three, and they come in, they had
  23        MR. RAMER: Objection to form.                  23   significant distress, they come in to see the --
  24 A So the question about a child that experiences      24    the endocrinologist. The endocrinologist
  25   sex-discordant gender identity, it's important to   25    consults the guidelines, and this child is 16

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   1    recognize how this thinking has evolved over        1   years old, was never on puberty blockers, but has
   2    time.                                               2   long-standing distress and a diagnosis of gender
   3        In the original 2009 Endocrine Society          3    dysphoria.
   4   guidelines, they specifically discouraged social     4       If that endocrinologist prescribes cross-sex
   5    affirmation in prepubertal children that have       5    hormones to that patient before them, is that
   6    this experience, recognizing the existing           6   encouraging that child to embrace a transgender
   7    literature showing that there is a high             7    identity?
   8    likelihood that those individuals, if not           8        MR. RAMER: Objection to form.
   9    encouraged in that sex-discordant gender            9 A So as you described that case, the intent of the
  10    identity, would have a realignment of their        10    patient coming to the endocrinologist is to be
  11   gender identity of their sex. They cite many of     11   given medical interventions, hormonal therapy,
  12    the same papers that I, in other areas, have --    12   that will change the appearance of the body to
  13    in my other publications have mentioned.           13   conform to one's gender identity. That would be
  14        And so the Endocrine Society initially         14   facilitating that bodily change that is in accord
  15   recognized the impact of the social affirmation     15   with the desire of that patient. And it would be
  16    not being a neutral intervention, but actually     16    doing more than just encouraging. It would
  17   influencing potential later stages of engagement    17    actually be engaging in a practice that would
  18   in gender-forming -- gender-affirming medical       18    lead to those bodily changes.
  19    interventions. So I -- well, I'll leave it at      19 Q So you would -- you would say the intent of
  20    that.                                              20    the -- of the doctor in that circumstance is to
  21 Q So separate from social affirmation and separate    21    encourage a transgender identity?
  22   from the 2009 Endocrine Society guideline, would    22        MR. RAMER: Objection to form.
  23   you consider following the recommendations in the   23 A The intent of the endocrinologist giving
  24    2017 Endocrine Society guideline to be the         24   cross-sex hormones is to change the appearance of
  25   equivalent of encouraging a child to embrace a      25    the body to conform to one's gender identity.

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   1 Q Do you think that endocrinologists who provide       1    the same thing?
   2   that treatment have an investment in the patient     2 A No.
   3    being transgender?                                  3 Q Okay. Are you a member of the Endocrine Society?
   4        MR. RAMER: Objection to form.                   4 A Yes, I am.
   5 A I don't know how you infer any judgment on           5       MR. STRANGIO: So if we could go back to
   6   investment. They are being asked, and those that     6    Exhibit 1 and paragraph 86, pages 49 to 50.
   7    would prescribe those medications would be          7   Okay. Wait, no, no, go up, sorry. Sorry, you're
   8    acquiescing to the desires of that patient to       8    right, go down. That was my fault.
   9    facilitate that change.                             9 Q So here in -- this is in between pages 49 and 50,
  10 Q Do you think when doctors treat conditions to       10   paragraph 86, talking about the Endocrine Society
  11    alleviate suffering, they're acquiescing to        11    clinical practice guideline with respect to
  12    patient desire, as a general matter?               12   treatment of gender dysphoria, you write, "The
  13        MR. RAMER: Objection to form.                  13   guidelines were never submitted to the entire
  14 A This is an important question because I think it    14   Endocrine Society membership for comment and
  15   relates to the uniqueness of the engagement of an   15    approval prior to publication."
  16    endocrinologist in the -- in the treatment of      16       Did I read that correctly?
  17   gender dysphoria, which is very distinct from all   17 A You did.
  18    of the other conditions that a pediatric           18 Q And is that unique to this particular guideline
  19    endocrinologist would normally treat.              19   or is that just how Endocrine Society clinical
  20        And the difference is that in all other        20    practice guidelines are generally done?
  21    endocrine conditions -- or in all endocrine        21       MR. RAMER: Objection to form.
  22   conditions -- this is not an endocrine condition    22 A So I can state in another related area, there was
  23   until you make it one by disrupting the function    23    a paper that was recently published by the
  24   of the normal gonadal function -- is that we have   24   Endocrine Society about the importance of sex as
  25    objective criteria to make the diagnosis. We       25   a biological variable. That paper was put out to

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   1   have objective criteria for establishing not only    1  the entire membership for comment and addressing
   2   the diagnosis, but the response to treatment by      2    before it was published, in contrast to this
   3   measuring of various hormone levels, imaging         3    guideline that was not.
   4    studies and objective criteria.                     4 Q Well, I'm talking about clinical practice
   5        So I would say that -- that the                 5    guidelines; say, for example, the clinical
   6   endocrinologist is not acquiescing to the desires    6   practice guidelines for CAH. Is that put out to
   7    of the patient. They're able to objectively         7   the entire membership for comment and approval
   8   recognize an endocrinologic disorder and be able     8    prior to publication?
   9    to address that disorder within the tools that      9        MR. RAMER: Objection to form.
  10   are available to the endocrinologist, so I would    10 A I think I understand your question. So the
  11    say that it is not the same thing. It is very      11   statement that I make in this paragraph was not
  12   different in the setting of gender dysphoria than   12    that -- so it is correct that most clinical
  13    it is in other endocrine conditions.               13   practice guidelines are not put to the membership
  14 Q But the endocrinologists who are treating           14   for approval, but I would -- the reason why this
  15   adolescents with gender dysphoria you believe are   15    is contained within my declaration is that
  16    acquiescing to patient desires?                    16   statements have been made by the plaintiffs that
  17        MR. RAMER: Objection to form. Asked and        17   this is accepted by the Endocrine Society. And I
  18    answered.                                          18    would say that without having the ability to --
  19 A I would say, again, that they are being asked to    19   of the entire membership to comment on that, you
  20    and they're agreeing to deliver hormonal           20   cannot state that this is endorsed by the members
  21   interventions that will change the appearance of    21    of the Society. It is only endorsed by the
  22   the body to conform to one's perceived gender       22   members of that committee that put together the
  23    identity, and in that case they are facilitating   23    recommendations. That is the purpose of that
  24    the transition that the patient desires.           24   statement. And that is an accurate description
  25 Q And do you think facilitating and encouraging are   25    of -- of the -- the status of how these

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   1   recommendations are in relation to the               1   the -- the rest of the population, which leads to
   2   understanding of the entire membership of the        2   significant questions about the efficacy of truly
   3   Society.                                             3   alleviating in a sustained way the morbidity that
   4 Q So just for clarity, the clinical practice           4   one has and is seeking to have relieved by the
   5   guidelines, including the clinical practice          5    delivery of this care.
   6   guideline for treatment of gender dysphoria and      6 Q So effective would be to see the distress
   7   others, are not put out to the entire membership     7   alleviated from the morbidity, is that -- just to
   8   before publication?                                  8   summarize that -- the last part of your answer;
   9       MR. RAMER: Objection. Beyond the scope.          9    is that right?
  10 A So, again, my understanding as a member of the      10        MR. RAMER: Objection to form.
  11   Endocrine Society, that most of the clinical        11 A There are many -- there are many outcome measures
  12   practice guidelines are not put to the membership   12   that one can use to assess the efficacy. One of
  13   as a whole, but there are also not claims that      13   them, and a very important and predominant
  14   they represent the understanding of the entire      14   outcome measure, would be the alleviation of the
  15   society as well.                                    15    dysphoria, which is used as the basis for
  16 Q But the Endocrine Society is not claiming that      16   engaging in the affirmative care. It also can
  17   these clinical practice guidelines represent        17   include the need for ongoing use of psychiatric
  18   anything different than they are with respect to    18   medications, ongoing comorbidities including
  19   other clinical practice guidelines, are they?       19    eating disorders, depression, anxiety, peer
  20       MR. RAMER: Objection to form.                   20   relationships, a whole host of other outcome
  21 A They're -- my understanding from -- from the        21    measures.
  22   plaintiff experts is they are making that claim.    22 Q And you mentioned that this -- that this is a new
  23 Q Separate from the plaintiff experts, is the         23    medical intervention. What makes it new?
  24   Endocrine Society making that claim?                24 A Well, I would say that when you have a condition
  25 A No.                                                 25   in which the best data that we have available in

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   1 Q So just trying to understand a little more           1   adults can often take over ten years to be able
   2    about -- about your position, is it fair to         2    to see, you know, effects where people have
   3    summarize your position that as -- there is a       3    actually discovered that it didn't alleviate the
   4    lack of evidence that pubertal suppression to       4    suffering that they experienced, one does not
   5    treat gender dysphoria in adolescents is            5   have that long-term data yet in the treatment of
   6    effective?                                          6    children. The data that we do have available
   7 A That's one component of my opinion, correct.         7    actually leads to strong questions about the
   8 Q And can you just explain to me what you would        8   efficacy of the intervention in relation to some
   9    consider to be effective treatment?                 9   of those primary outcome measures that I just
  10 A Well, so, again, it cannot be considered in         10    mentioned.
  11    isolation, so in all medical treatments, one       11 Q So the newness is based on the availability of
  12    weighs relative risks to relative benefits. And    12    long-term data?
  13    there always is a risk/benefit analysis that is    13 A No. The newness is the lack of solid scientific
  14    done.                                              14    evidence regarding the relative risks and
  15        The goal of this intervention is to improve    15    benefits that is precisely my opinion that is
  16    the -- to alleviate the suffering of these         16   supported by several of the European countries
  17    individuals. Because this is such a new            17   that have come to the exact same conclusions
  18   intervention and the existing data, which we have   18   about the low quality of evidence, the questions
  19    very little long-term data in the use of this      19    about the long-term efficacy and the relative
  20    affirmative model in adolescents long term, is     20   risks that one is -- and adverse effects that one
  21    drawn upon by the experience in adult              21    is assuming to achieve a purported goal of
  22    populations, some of the best longitudinal         22    alleviation of suffering. Again, it involves a
  23   studies that have been done looking at outcomes     23    careful consideration of relative risk versus
  24   following gender-affirming medical care and how     24    relative benefit, and it is new to the extent
  25    their psychological health is in relation to       25   that we do not have the information that we have


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   1   to be able to make the conclusions that many do       1   cross-sex hormone therapy to treat adolescents
   2   make incorrectly about the -- the effectiveness       2   with gender dysphoria currently banned in the
   3    of this approach as opposed to alternative           3    United Kingdom?
   4    approaches.                                          4        MR. RAMER: Objection to form. Asked and
   5 Q So just taking a step back, you've mentioned now      5    answered.
   6   a few times European countries. Which countries?      6 A And I will say that I am not testifying in this
   7 A Well, there's -- there are statements that have       7    case as being, again, a legislator or a
   8   been made in the UK, in Finland, Sweden, Norway,      8    politician on the workings in that country, but
   9   France, New Zealand, many other countries that        9    my understanding is that it can still be
  10    are assessing this question of scientific           10   administered in circumstances, but the process of
  11    evidence and relative risk versus benefit.          11    how to deliver this care is under intense
  12        Again, my role as a pediatric                   12    scrutiny right now based upon the scientific
  13    endocrinologist is focused upon assessing the       13    evidence.
  14    relative risk versus benefit in relation to the     14 Q But the care can still be delivered in the UK, to
  15   engagement of the pediatric endocrinologist in       15    the best of your understanding?
  16    the delivery of care involving hormones,            16 A As a pediatric endocrinologist --
  17    including cross-sex hormones and puberty            17        MR. RAMER: Objection to form.
  18    blockers.                                           18 A As a pediatric endocrinologist testifying in this
  19 Q And cross-sex hormones and puberty blockers          19    case in relation to the relative risks and
  20    continue to be prescribed to adolescents with       20    benefits of the affirmative model, my
  21    gender dysphoria in the UK; isn't that right?       21    understanding is that -- that they are
  22        MR. RAMER: Objection to form. Beyond the        22   reexamining the delivery of care, and I am not
  23    scope.                                              23    aware of any absolute prohibition of the care,
  24 A Okay. So in this case I am not going to be           24    but there is certainly recognition that -- that
  25    testifying specifically in that area, but my        25   there's much that we do not know and there needs

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   1    understanding is based upon the systematic           1     to be reconsideration of -- of how we deliver
   2   reviews by the National Institute for Clinical        2     care to the affected population.
   3   Excellence which include two systematic reviews,      3 Q    And is -- is Finland continuing to provide
   4   one on puberty blockers and one on cross-sex          4     hormone therapy and puberty blockers to some
   5   hormones, gave the conclusion that the evidence       5     adolescents with gender dysphoria?
   6    is deficient and they are dialing back on the        6          MR. RAMER: Objection to form. Beyond the
   7   provision of the current delivery model and it is     7     scope.
   8   a process that is ongoing. What was published as      8 A    It is -- again, although I'm speaking as an
   9    the Cass report is an interim report, but            9     endocrinologist and hormonal interventionist, it
  10   recognizing, for example, in -- in the Carmichael    10     is my understanding that if that care is being
  11  paper that many of the outcome measures were not      11     delivered, it needs to be within the setting of
  12   able to replicate the benefit of the Dutch model     12     an experimental trial.
  13    in their publication on a different population      13 Q    So your understanding is that in the context of
  14   and there's much more that could be said about       14     at least clinical trials, care in Finland
  15    this, but I think that the recognition that the     15     continues to be provided to adolescents with
  16   evidence that is available is not what it needs      16     gender dysphoria?
  17    to be to -- to be able to say that this is -- the   17         MR. RAMER: Objection to form. Beyond the
  18    relative benefits versus the relative risks are     18     scope.
  19    justified and I think there's a general move        19 A    Again, beyond what I'm testifying in this case,
  20   toward recognizing the primary importance of         20     but that is my understanding.
  21    psychological interventions.                        21 Q   Well, you raised all of these countries as
  22 Q Okay. But just a yes or no answer. Is care           22     examples of the basis of your opinion about how
  23    banned currently in the UK for treatment of         23     the relative risks and benefits of the treatment
  24    adolescents -- excuse me, I'll rephrase.            24     are being assessed, so you are the one who
  25        Is the provision of puberty blockers or         25     introduced these -- these countries, and so I'm

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   1    now exploring the nature of these various            1     medical care, and it is an area that is in need
   2    policies and -- and examinations, so you             2     of active research. I fully support that.
   3   introduced it into the scope of your -- of your       3        I think that the trials that need to be done
   4   testimony, and it's my deposition and I'll ask        4     are not even being considered. There are many
   5    the questions.                                       5     ways that we can address this question that need
   6        So with respect to Sweden, is it your            6     to be explored, and that is, again, something
   7    understanding that at least in the context of        7     that I have consistently maintained.
   8    clinical trials, the provision of puberty            8 Q    With respect to research in this area, would you
   9   blockers and cross-sex hormone therapy are being      9     agree that it would be difficult to run placebo
  10   provided to adolescents with gender dysphoria?       10     controlled randomized controlled trials for
  11 A I need to --                                         11     puberty blockers to treat gender dysphoria?
  12        MR. RAMER: Objection to form. Beyond the        12 A    I would say that's a mischaracterization of how
  13    scope.                                              13     those trials should be done. I don't think
  14 A I need to clarify. It is not the basis of my         14     anyone would use a placebo controlled trial.
  15   opinion. I brought up these European countries       15     That is not the way that the trial would be
  16   that it supports my opinion, that it's consistent    16     envisioned.
  17    with my opinion. It is not the basis of my          17         Again, the misconstrued nature of how that
  18    opinion.                                            18     is proposed is that one treats a patient and then
  19        The basis of my opinion is based upon           19     does not treat another patient. That is not what
  20   understanding of the scientific evidence that is     20     would be ethical to do. One can propose two
  21   currently available independent of what is going     21     different treatments. And, again, the way
  22    on in the European countries.                       22     science is normally conducted is that one
  23        With that said, and your question being         23     controls for every element within the study
  24   outside of the -- what I'm offering in this case,    24     except for the independent variable, so that
  25   that is my understanding that it started with the    25     means that both study groups would receive the

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   1   Karolinska Institute making a determination that      1    same intervention, with the exception of the
   2   they were going to halt the delivery of hormonal      2    intervention that's being studied for that trial.
   3    treatments to these individuals based upon the       3 Q So would you favor something like a randomized
   4   low quality of evidence. That was followed up by      4    controlled trial in which one group was given
   5    a governmental policy statement indicating           5    psychotherapy alone to treat the distress related
   6    that -- that -- again, that this needs to be an      6    to gender dysphoria and one group was given
   7    area of active research, and that if it is going     7   pubertal suppression along with psychotherapy to
   8   to be delivered, it needs to be done recognizing      8    treat the gender dysphoria and then study the
   9    that it is experimental, and that is -- the basis    9    two -- two groups, is that the type of trial that
  10   of that which is consistent with the opinion that    10    you would envision?
  11    I am offering in this case was published in a       11         MR. RAMER: Objection to form.
  12    peer-reviewed journal, Acta Pediatrica,             12 A That -- so, again, as a physician scientist, that
  13   demonstrating the low quality of evidence that's     13    would be one way to conduct the trial. In fact,
  14    present to support the use of the affirmative       14   that study has been done in a non-randomized way.
  15    model.                                              15   It's the 2015 Costa paper where the patients were
  16 Q So it's consistent with your opinion to assess       16   not randomized to the two interventions that you
  17   the evidence and determine that it is appropriate    17    propose, but they were studied and, in fact,
  18    to continue to provide the treatments in the        18    there is justification on the ethical basis that
  19    context of a clinical research trial?               19    both groups, both the group that received
  20        MR. RAMER: Objection to form.                   20   psychotherapy alone and the group that received
  21 A It is -- so I'm a physician scientist, and I have    21    pubertal blockade with psychotherapy had
  22   long maintained that there is a need to do high      22    improvement in the psychological parameters.
  23    quality research. It has not been conducted in      23         I think it would be ethical within the
  24   the appropriate manner to be able to make causal     24    constraints of a clinical trial to be able to
  25   determinations of the effects of gender-affirming    25    propose replicating those findings in a

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   1    randomized manner, so I think there are many        1    identical care with the exception of the
   2   other ways to propose that. That's not the only      2    independent variable. If the independent
   3    way, but it is one example of the type of           3   variable was, for example, cross-sex hormones or
   4    intervention that could be studied.                 4    puberty blockers, I think that it would be
   5 Q And so just to follow up on -- on that point.        5    possible to design a trial with that -- that
   6    You would be in favor, as you've mentioned,         6    intervention.
   7    for -- for more research in this area. Is that a    7        MR. STRANGIO: This is an okay place to stop
   8    fair summary of what you said?                      8   for me, John, so -- or I can move on. Do you
   9        MR. RAMER: Objection to form.                   9    want to do a short break, an hour, and then
  10 A Absolutely.                                         10    lunch, or how are you feeling?
  11 Q And one way to do research would be to give one     11        MR. RAMER: So a break now makes sense.
  12   group the intervention, say puberty blockade, and   12    We're almost at an hour I think anyway, so,
  13   to give another group psychotherapy and to study    13   Dr. Hruz, over to you about how long of a break.
  14    the effects of those -- of those two courses; is   14        THE WITNESS: I would prefer to plow through
  15    that -- is that right?                             15   as quickly as possible, so we can keep this a
  16 A I think it would be imprudent to make that          16    short break.
  17    generalized statement. There are many other        17        MR. STRANGIO: All right. Let's go five.
  18   components the way that trial would need to be      18        (At this time a recess was taken.)
  19    designed within, you know, the -- the normal       19        MR. STRANGIO: Okay. So shifting gears a
  20   regulatory mechanisms of the institutional review   20   little bit, and why don't we, Kim, go ahead and
  21   boards to make sure that the safety of the study    21    pull up Exhibit 1, which is Dr. Hruz's
  22   subjects would be reasonably maintained to be       22    declaration.
  23    able to address that question.                     23 Q And just to start, Doctor, so you currently treat
  24        I would say given the current state of         24   patients with disorders of sexual development; is
  25    knowledge, the initial questions that could be     25    that right?

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   1    studied in that type of randomized controlled       1 A I do, although much of that is now going --
   2    trial would be modest and very focused on           2   continuing to occur within the setting of our DSD
   3   specific outcomes for a defined period of time,      3    clinic. I routinely am consulted in patients
   4    but I would not in a conversation like this be      4    that are born with ambiguous genitalia in the
   5    able to adequately cover all of the necessary       5   initial evaluation. I have -- my involvement in
   6   components to be doing such trial in an ethical      6   the DSD clinic has been more limited than it has
   7    manner that would preserve the safety of the        7    been in the past.
   8    patient -- or study subject while at the same       8 Q And why is that?
   9    time allowing one to gain the insight that one      9 A I have far too many other responsibilities.
  10   needs to fill in the gaps in the knowledge base.    10 Q Understood. I can relate.
  11 Q Well, let me ask it this way. Would you ever be     11        MR. STRANGIO: Can we go to page 10, bottom
  12    in favor of a study design that included the       12    of paragraph 18, please, Kim. Thank you.
  13   provision of gender-affirming hormone therapy to    13 Q In here -- so in the -- sorry, the middle of
  14   adolescents with gender dysphoria as part of the    14   paragraph 18 you write, "Persons who are born
  15    study?                                             15   with such abnormalities are considered to have a
  16 A Given the current landscape of the way that this    16   disorder of sexual development, DSD. Most often,
  17   affirming model care has -- has been delivered, I   17    this is first detected as ambiguity in the
  18   think that that would be a necessary component of   18    appearance of the external genitalia. Such
  19    being able to establish. There are many other      19   detection measurements are reliable and valid and
  20    ways that you could potentially address that       20   accepted by the relevant scientific community."
  21    question, but one way would be to have in an       21        Did I read that correctly?
  22    experimental trial one group that received the     22 A Yes.
  23   gender-affirming model and another group that       23 Q And so you said most often the ambiguities --
  24    received an alternate care, again, maintaining     24    excuse me. Let me start over.
  25    that both study groups would receive the           25      Are all DSDs detected based on appearance of


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   1    an infant's external genitalia at birth?            1   what people generally mean in the imprecise use
   2 A It depends on how one -- what one includes in the    2   of that word of one's perception of their sexual
   3   DSDs. I know there are many that are more            3    identity.
   4   inclusive than I would be in what constitutes a      4 Q So what's -- so what would you -- how would you
   5   disorder of sexual development. But there are        5   explain one's perception of their sexual identity
   6   conditions, for example, that one could be so        6   as opposed to one's perception of their gender
   7   virilized that one would not recognize ambiguity     7    identity?
   8   of an individual, for example, that had an XX        8       MR. RAMER: Objection to form.
   9   karyotype that would have a male appearing           9 A So as I state very clearly in my declaration,
  10   genitalia, so ambiguity is the most frequently      10    there are -- again, in 99.98 percent of the
  11    encountered, but there are other objective         11    cases, that one's appearance of their external
  12   criteria that can be used to recognize, diagnose    12    genitalia is in accord with reproductive
  13    and treat other forms of DSDs.                     13   development and capacity, the actual basis for
  14 Q But not all of those are necessarily immediately    14   sex among not only humans but across the animal
  15    known at birth; is that right?                     15   kingdom, and the unique roles that males and
  16 A Yes. I would say probably the most common would     16   females have that in that role of reproduction.
  17   be complete androgen insensitivity where that       17    And so that is an objective understanding in
  18   condition, the phenotype is female and it's not     18    relation to that.
  19   recognized until later in life when one does not    19       When one looks at individuals that have
  20    menstruate that one has the condition.             20   disorders in that sexual differentiation process,
  21 Q And you write in the next paragraph, in 19, if we   21    one is trying to be able to understand that --
  22   could scroll down a little, at the bottom of the    22    the etiology, the cause of that disorder of
  23    page, "The need for making a tentative sex         23    sexual development, and also the potential
  24   assignment is unique to children with a DSD and     24    functioning of that individual in relation to
  25    does not apply to individuals with normally        25   what they possess at the time that they're being

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   1    formed and functional genitalia at birth."          1    evaluated.
   2       Is that correct?                                 2 Q So the sexual identity relates to their
   3 A That is correct.                                     3    reproductive functioning, is that what I'm
   4 Q And so taking the CAIS example, the complete         4    understanding you saying?
   5    androgen insensitivity example, is the sex          5 A That is correct, in relation to how we understand
   6   assignment that's made at birth tentative in that    6    sex as a biological variable, but it also
   7    case?                                               7    includes the other aspects related to the
   8 A There -- so if I'm understanding your question,      8   practice of medicine. Again, there is an entire
   9    again, if we think about the error rate in the      9    field of medicine recognizing sex-related
  10   designation or on the appearance of the external    10   differences that are genetically encoded in every
  11   genitalia in correctly understanding the gender     11   cell of the body that will affect the functioning
  12    identity -- or the sexual identity of the          12    and response to various drugs, to various
  13    individual, it is accurate in, but -- over         13   endogenous hormones, disease susceptibility and
  14   99 percent of the cases. That doesn't mean that     14    the like.
  15    there are not cases in which there -- that         15 Q What is the sexual identity of a patient with CAH
  16   designation is an error, so that I would say that   16    who has at birth typically male appearing
  17    there are situations in which one does not         17    genitalia but XX chromosomes?
  18    recognize the DSD at the time of birth.            18 A So just to be clear, you're talking about
  19 Q What is the difference between sexual identity      19   congenital adrenal hyperplasia, which in the most
  20    and gender identity? You just corrected            20   severe forms, if you have an individual with an
  21    yourself.                                          21    XX karyotype that has had significant
  22 A Sexual identity involves the -- the body itself     22    virilization so that the appearance of the
  23   in relation to reproductive function, and as it's   23   genitalia appears male, these individuals have
  24   currently being used -- again, people erroneously   24    ovaries, they have a uterus, and they, if
  25   conflate the two terms of gender and sex. But       25   recognized and treated, will have the capacity to

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   1    conceive and gestate new life, so they would be       1        But, again, I would say in those very rare
   2    clearly female in their sexual identity.              2     circumstances, one can accept that there's
   3 Q And the -- is their female sexual identity based       3     ambiguity and one is not able to make a
   4    on their capacity to carry new life, as you say?      4     definitive assessment of the true sexual
   5 A So it's in relation to the body itself and its         5     identity.
   6    orientation toward that reproductive potential.       6        But what the practitioner does, those that
   7    It's not to say that everyone that has -- in          7     are involved in the care of these individuals, is
   8    general, with or without adrenal hyperplasia,         8     to assess what they do have in relation to sexual
   9    will be able to or choose to reproduce, but it        9     function and then to make a treatment plan that
  10    means that what is the -- present within that        10     will help facilitate that -- that sexual role
  11    individual in its orientation toward that            11     that that individual can carry out.
  12    reproductive purpose, so I would say that            12 Q   Could two different people with CA -- CAIS, so --
  13    somebody that has an XX karyotype that has           13     could two people with complete androgen
  14    ovaries that's able to make ova, that has a          14     insensitivity syndrome have different sexual
  15    uterus, those are all characteristics that we        15     identities?
  16    recognize for the female sex, and therefore in       16 A    No, they have one sexual identity, but the
  17    that relation, that would be their sexual            17     external observer trying to assess what that is
  18    identity.                                            18     may come to different conclusions, so there is a
  19 Q And what about someone who has complete androgen      19     sexual identity, but one may not be able to
  20   insensitivity syndrome with XY chromosomes and        20     definitively establish what that sexual identity
  21   typical female appearing external genitalia, what     21     is.
  22    would be their sexual identity?                      22 Q    And then on this same paragraph 19, but on the
  23 A That is an excellent question, and I think it's       23     next page, starting with "Current practice." So
  24   debated depending on how one weights the various      24     here, Doctor, you write, "Current practice is to
  25    components.                                          25     defer sex assignment until the etiology of the

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   1         Again, when we talk about disorders of           1    disorder is determined and, if possible, a
   2    sexual development, when one has normally formed      2    reliable prediction can be made on likely
   3     and functioning sexual anatomy, there is no          3   biologic and psychologic outcomes. When this
   4     confusion about what the sexual identity is.         4   cannot be done with confidence, a presumptive sex
   5         When one presents with a disorder of sexual      5   assignment is made. Factors used in making such
   6     development, the degree of ambiguity leads to        6   decisions include karyotype, which 46" -- sorry,
   7     uncertainty as to the true sexual identity, and      7   in parens, "(46XX, 46XY or other), phenotypic
   8     that is really the only situation where one makes    8   appearance of the external genitalia and parental
   9     a tentative assignment trying to understand best     9    desires. The availability of new information
  10     of what's going on.                                 10   can, in rare circumstances, lead to a change in
  11         There are some that will argue because the      11    sex determination."
  12     one has testes, that they would classify them as    12        Did I read that correctly?
  13     male. There are others who would classify them      13 A You did.
  14     as female, because if you look at an effect, they   14 Q What new information would be relevant in this
  15     don't have the full complement of what is           15    context?
  16     necessary to engage in sexual function as either    16 A Well, we can return to the example of complete
  17     male or female. If one weighs the appearance of     17   androgen insensitivity and -- and recognize that
  18     the -- or the structure of the genitalia to be      18   the information about fertility was not known at
  19     receptive in the role that normally is assumed by   19    the time of birth. It wasn't even questioned.
  20     a female, recognizing that the testes themselves    20    If we understand the etiology, there are
  21     require androgens to be able to make sperm so       21   conditions, for example, that aren't recognized
  22     that they're completely infertile, so even though   22   early on as to more incomplete cases of androgen
  23     they have testes, they will never be able to have   23    insensitivity, how well they will respond.
  24     viable sperm, there are some that would designate   24   Again, it's not always complete. You can have
  25     the sexual identity as female.                      25    partial androgen insensitivity. Some of those

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   1    individuals will be able to respond to higher         1    the time of the initial evaluation that may
   2   doses of androgen, some will not, and that is an       2    impact the sexual function of that individual.
   3   example of the information that one does not have      3   So it's actually moved toward increasing caution,
   4    at the time in the neonatal period that could         4   recognizing the uncertainty that one has, which I
   5   lead to a change in -- in how we address that          5   would say is in stark contrast to what's going on
   6    individual and provide care to that person.           6    now in the area of gender dysphoria.
   7 Q And would that new information include how the         7 Q And can surgeries done on infants with DSDs
   8    person feels about their sexual identity?             8    impact their ability to orgasm?
   9 A It -- it certainly is a component. We try to get       9 A Yes.
  10   all of the information that we have. Again, we        10 Q And can surgeries done on infants with DSDs carry
  11   are dealing with individuals that at the time of      11    risk?
  12   evaluation have absent or impaired fertility or       12 A Yes.
  13    sexual function, so I think it -- recognizing        13 Q And are all the surgeries done on infants with
  14    that there is a disorder of the sexual               14   DSDs supported by long-term studies showing
  15   differentiation process, one needs to assess all      15    benefit?
  16   of the components about that individual that will     16 A So let's -- let's -- so in order for me to
  17    affect their ability to engage in whatever           17   adequately address your question, we have to look
  18   capacity they have, which is understood to be         18    at the circumstances in which surgery will be
  19    incomplete.                                          19    done in that period of infancy.
  20 Q But for this subset of humans, how they feel          20 Q I can narrow the question, if that will save us
  21    about themselves would be a relevant                 21    time, which is just to say are -- are surgeries
  22    consideration; is that right?                        22   that are done for the sole purpose of conforming
  23 A It would have to be in the setting of if you have     23    the appearance of external genitalia to the sex
  24    somebody that does not have a clear male or          24   assignment supported by long-term studies showing
  25   female sexual identity and has a limited capacity     25    benefit?

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   1     of how they're going to engage within the sexual     1 A There are ongoing studies, and that was the basis
   2     realm, that would be an important consideration,     2   for which the change in the approach was made
   3     yes.                                                 3   about individuals that had adverse effects of the
   4 Q    And later in that paragraph, towards the bottom,    4   surgeries that were done. You mentioned one of
   5     you write, "Decisions on whether to surgically       5    them as far as orgasm and sexual function.
   6      alter the external genitalia to align with sex      6    The -- the studies actually supported the fact
   7     are generally deferred until the patient is able     7   that there was many individuals that reported
   8      to provide consent."                                8   harms by doing surgery early on, and -- and that
   9          Did I read that right?                          9   was one of the reasons for deferring any surgical
  10 A     Yes.                                              10    interventions until later in life.
  11 Q     Why is that?                                      11 Q Are you aware that Senate Enrolled Act 480
  12 A     Well, because we -- this is actually a very       12   explicitly exempts from prohibition any surgery
  13     important point. When I trained 30-some years       13   performed on a patient with a DSD even if such
  14     ago, it was believed that one needed to make a      14   surgery is solely to align the appearance of the
  15     definitive determination of sexual identity and     15    external genitalia with the sex assignment?
  16     then to engage in the surgical intervention to      16        MR. RAMER: Objection to form.
  17     align the appearance of the genitalia to that sex   17 A Again, I'm not testifying on the legal aspects of
  18      assignment.                                        18   this, I'm not a politician, I'm not a lawyer, but
  19        We recognized that often we were wrong. We       19   the reason for doing surgeries on -- in infancy
  20     also recognized, you know, that there was more      20   for disorders of sexual development are usually
  21     information that could be available in life that    21    limited to those that have significant medical
  22     would impact that, and in this area there has       22   risk. There can be a malplacement of the urethra
  23     been increased caution in being able to intervene   23    that leads to a predisposition to urinary tract
  24     until we have a better sense of all of the          24    infections. There can be urinary outflow
  25     factors that can -- that may not be present at      25   obstruction. There can be a malignancy risk by

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   1    having a dysgenetic testes that are present           1    61, okay. Can you scroll down a bit. Sorry.
   2   within the abdomen. There are many reasons why         2 Q Yeah, so here it's at the top of page 35, you
   3    one would choose to do surgery earlier.               3    write, "The evidence for the safety and efficacy
   4       Again, this is an area that is -- again,           4    of puberty suppression in boys is less robust,
   5   there's -- there's ongoing discussion within the       5   chiefly since precocious puberty is much rarer in
   6  DSD community about the optimal timing of surgery       6    boys."
   7   or not. There's many that recognize that blanket       7        Did I read that correctly?
   8    prohibitions on doing surgery really carry            8 A That is correct.
   9   themself medical risk when you have situations         9 Q Is it the case that sometimes with rare
  10   where intervention is required early on, but most     10    conditions, there is less evidence supporting a
  11   of the practitioners, myself and those that are       11    particular intervention?
  12   involved in the care of patients with DSD, if it      12 A That is very true in many areas of medicine.
  13   is merely for cosmetic reasons, will defer that       13    Again, any decision made is based upon the
  14    until later.                                         14    relative risk versus the relative benefit of the
  15 Q And we heard in a deposition that there are           15    intervention, so that's not unique to -- to one
  16   hospitals in Indiana that are performing genital      16    particular area of medicine. That's true for all
  17    surgeries on infants solely to alter the             17    of medicine.
  18   appearance of the infant's external genitalia.        18 Q And at what age, you know, just even a range, do
  19    Do you agree with that practice?                     19    you generally take patients with central
  20 A I'm not --                                            20    precocious puberty off of the GnRH analogue?
  21       MR. RAMER: Objection to form.                     21 A Generally we will usually stop the GnRH agonist
  22 A I'm not familiar with -- with what you're             22    when they reach the age of normal puberty. It
  23   referring to, so I couldn't comment on that. I        23    will be -- the length of treatment will be
  24   don't know the circumstances of the decisions         24   influenced by the degree of bone age advancement,
  25   that were made to make that decision, so I can't      25    the affect that one may potentially have on

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   1     comment.                                             1     height, but it also takes into consideration the
   2 Q    But you think that prudent professionals could      2     effects of delaying puberty beyond the normal
   3     have a different approach to the surgical            3     time as an adverse effect on things such as bone
   4     treatment of infants with DSDs; is that correct?     4     health.
   5         MR. RAMER: Objection to form.                    5 Q    But, generally speaking, it's an individualized
   6 A    So my involvement in the care of patients with      6     assessment for each patient based on the typical
   7     DSDs is involving many different layers of           7     pubertal age and other medical factors; is that a
   8     consideration as far as what's in the best           8     fair summary?
   9     interests of that patient, looking at their          9 A    It is. In general, between 10 and 12 years of
  10     overall risk and benefit of early or delayed        10     age is usually the limit of when one will
  11     surgical intervention.                              11     continue that intervention.
  12 Q    Okay. So in your declaration that we've been       12 Q    Same for natal males and natal females?
  13     discussing, you talk about different endocrine      13 A    Slightly different, but very similar.
  14     conditions that you treat in your practice, so I    14 Q    What's the difference?
  15     wanted to talk about some of those.                 15 A    Normal male puberty happens later than in
  16        Is central precocious puberty a condition        16     females.
  17     that you treat?                                     17 Q    And in terms of years, when did you begin to
  18 A    Yes.                                               18     treat central precocious puberty with GnRH
  19 Q    And do you treat central precocious puberty with   19     analogues?
  20     GnRH analogues?                                     20 A    I've been doing that throughout my career.
  21 A   Yes.                                                21 Q    So that would be going back to the 1990s?
  22 Q   For natal males and natal females?                  22 A    Yes. '97 is when I started my fellowship
  23 A   Yes.                                                23     training.
  24       MR. STRANGIO: And so if we could go to            24 Q   And if we could go to paragraph 43 on page 23.
  25     paragraph 61, page 35 of your declaration. 35,      25     Here you have -- you write, "A 2009 consensus

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   1   statement of pediatric endocrinologists concluded    1    pubertal suppression would be appropriate?
   2    that GnRH analogues are an effective way to         2 A Yes.
   3   improve the height of girls with onset of puberty    3        MR. RAMER: Objection to form.
   4    at less than six years of age and also              4 A So -- so if you're asking about the treatment
   5   recommended the treatment to be considered for       5    with a GnRH agonist for a patient that has
   6   boys with onset of precocious puberty who have       6    central precocious puberty, that would be an
   7    compromised height potential."                      7    indication because that individual would be
   8        Did I read that correctly?                      8    having premature activation of the
   9 A Yes, you did read that correctly.                    9    hypothalamic-pituitary-gonadal axis.
  10 Q Are there any randomized controlled trials          10 Q And here you also write, "The fact that children
  11   supporting the use of GnRH analogues to treat       11   with suppressed precocious puberty between ages 8
  12    central precocious puberty to improve adult        12   and 12 resume puberty at age 13 does not mean
  13    height?                                            13   that adolescents suffering from gender dysphoria
  14 A There -- to my knowledge, there's not a             14    who puberty -- whose puberty is suppressed
  15    randomized controlled trial. There -- the          15   beginning at age 12 will simply resume normal
  16   comparators are between those that did and did      16    pubertal development later if they choose to
  17    not receive the GnRH agonists as far as their      17   withdraw from the puberty-suppressing treatment
  18    effects on final height.                           18   and choose not to undergo other sex reassignment
  19 Q Sorry, to go back there, there are no randomized    19    procedures."
  20   controlled trials, though, supporting the use of    20        Did I read that right?
  21   GnRH analogues to treat CPP to improve adult        21 A You did read that correctly.
  22    height; is that right?                             22 Q As I understand it, a natal female could begin
  23 A Correct. My understanding is that the data          23   puberty at age eight, a normal timed puberty; is
  24    compares those that did and did not receive        24    that right?
  25    analogues and it was not in the setting of a       25 A Actually, there's some data that suggests that


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   1    randomized controlled trial.                        1     you could begin puberty even younger, as early as
   2 Q Does pubertal suppression on its own permanently     2     seven years. Generally when it occurs earlier,
   3    impair fertility?                                   3     the tempo of progression is slow. The earliest
   4        MR. RAMER: Objection to form.                   4     age of menarche for a female still remains ten
   5 A The evidence that we have in the treatment of        5     years.
   6   central precocious puberty where one uses the        6 Q    And so if a natal female diagnosed with gender
   7   medication to resume the normal quiescent state      7     dysphoria begins puberty at age eight and then
   8   of the inactivity of the pituitary gonadal axis      8     goes on to blockers and then at age twelve goes
   9   has not been shown to have any adverse effects on    9     off the blockers, would that presumably be
  10    fertility.                                         10     different as the same patient with CPP who you
  11 Q And then on page -- sorry, excuse me, paragraph     11     mentioned above who would go off of blockers at
  12    62, so that's a few pages -- I don't know the      12     age twelve?
  13   page number actually for this. Oh, it's probably    13        MR. RAMER: Objection to form.
  14    around 35. So here -- yeah, right there,           14 A    So most often when we have patients, it depends
  15    paragraph 62. You write, "Unlike children          15     on when they present to the practitioner and what
  16   affected by precocious puberty, adolescents with    16     their height potential is and how much the bone
  17   gender dysphoria do not have any physiological      17     ages have been advanced. There are many that
  18   disorders of puberty that are being corrected by    18     would present with precocious puberty at that age
  19    the puberty-suppressing drugs."                    19     that would not be treated with GnRH agonists, but
  20        Did I read that correctly?                     20     there would be -- so it does -- if they started
  21 A Yes, you did.                                       21     after age eight, they do not have precocious
  22 Q Presumably a patient could have both central        22     puberty and that would be very different. If
  23   precocious puberty and gender dysphoria; right?     23     they had clear clinical evidence that their
  24 A Conceivably, yes.                                   24     puberty began precociously and they were at a
  25 Q And for that patient, would you agree that          25     later stage, Tanner stage, of development at

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   1    eight years of age, leading to the likelihood       1    what you're asking?
   2   that they would have premature closure of their      2 Q In the circumstance when both patients go on the
   3   growth plates and premature menarche, that would     3   pubertal blockade for the different reasons, but
   4    be an indication for suppressing that puberty       4   come off it at the same time and undergo their
   5    until that time to account for that, so I think     5    endogenous puberty at the same time.
   6    they are different.                                 6 A So the antecedent to the introduction of that
   7      The way you asked the question would not be       7   intervention, there were things that were going
   8   a situation that one would encounter, that if you    8    on in the patient with precocious puberty that
   9   had puberty at eight years of age, that somebody     9   would not be present in the person that did not
  10   who was just turning Tanner stage 2 with normal     10    have precocious puberty and therefore the
  11   linear growth, no bone age advancement, they        11   influence on things like growth, age of menarche
  12    would not be placed on a GnRH agonist.             12    and -- and bone density would be different.
  13 Q But if they were placed on a GnRH agonist for       13 Q Are you aware of any studies showing the
  14    gender dysphoria, it's your view that the four     14    differences between those two populations of
  15   years from eight to twelve on that GnRH agonist     15    people?
  16   for the gender dysphoria would be different than    16 A I am, but not in direct comparison. I'm aware of
  17    the treatment for precocious puberty; am I         17    studies that specifically look at the effects of
  18    understanding you correctly?                       18    pubertal blockade in individuals with central
  19        MR. RAMER: Objection to form.                  19   precocious puberty and those that examine the
  20 A So, yes, they would be different in several         20   effects of pubertal blockade in those with gender
  21    respects. They are different in that one is        21    dysphoria. That literature has been -- for the
  22   interfering with a normally timed puberty. They     22   central precocious puberty is readily available.
  23   also would -- again, for the purposes of treating   23    It's the whole basis by which there are many
  24   gender dysphoria, there are effects on growth,      24    patients that I have that would prefer to have
  25   pubertal development, but also the likelihood       25   puberty indefinitely postponed and have to show

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   1    that one will go on to later stages of              1      them the data that shows that -- that by
   2   intervention, so there's many differences between    2     interfering with puberty, there's a limit that is
   3    those two scenarios and they are not the same       3     considered, again, the risk versus benefit, and
   4    condition.                                          4     that's why we only do it for a defined period of
   5 Q So, but even though both patients would begin        5      time.
   6   puberty at age 12 endogenously when they went off    6 Q     Is the limit based on the length of time on the
   7    the blocker, is that your position?                 7     blockade or the age at which you take a patient
   8        MR. RAMER: Objection to form.                   8      off the blockade?
   9 A They would not have been equivalent at the time      9 A     It is those factors and more. It is based upon
  10   the intervention was begun. The whole reason you    10     also the maturation of the skeleton, the bone age
  11   would make the diagnosis of precocious puberty      11     of that individual.
  12   would be influenced by the timing, the tempo and    12 Q    Okay. I want to turn back to your CV, which is
  13    the final height prediction of that individual.    13     Exhibit 2, and going down to the invited
  14    And if you -- and by definition they would be      14     publications on page 11.
  15    different and not the same.                        15        Okay. I think that's the right place.
  16 Q And what would be the different health outcomes     16        So two of your invited publications were
  17    that you have seen in evidence?                    17     published in the National Catholic Bioethics
  18        MR. RAMER: Objection to form.                  18     Quarterly; is that correct?
  19 A So -- so just so I'm clear about what's your        19 A    Yes.
  20    question, you say what is the different outcome    20 Q   And so I want to pull up Exhibit 10, which is the
  21   in somebody that has normally timed puberty, that   21     Information for Authors, the Submission
  22    has normal age of initiation of puberty, that      22     Guidelines, which I know, Doctor, we've gone
  23   does not have bone age advancement, that is not     23     through these before.
  24    predicted to have menarche before ten years of     24         So have you seen this document?
  25    age as opposed to somebody that does, is that      25 A    In the context of prior depositions, yes.

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   1 Q    And this is, as it states, the Information for      1 Q   So you've never encountered in your work anything
   2     Authors and Submission Guidelines for the            2     where the scientific evidence is counter to the
   3     National Catholic Bioethics Quarterly.               3     issues of faith, is that how you phrased it?
   4         Any reason to doubt that that's what this        4 A    I would say --
   5     is?                                                  5         MR. RAMER: Objection to form.
   6         MR. RAMER: Objection to form.                    6 A    I would say that they are two different domains
   7 A    No reason -- no reason to doubt.                    7     of investigation, of academic or spiritual, you
   8 Q    And so I'm just going to read the beginning of      8     know, understanding. They speak to different
   9     the submission guidelines, which state as            9     questions, they have different tools, but in my
  10     follows: "The National Catholic Bioethics           10     experience as a physician scientist, I have not
  11     Quarterly is the official journal of the National   11     encountered anything that is in contradiction,
  12     Catholic Bioethics Center, an organization          12     recognizing that they address different topics.
  13     dedicated to research and the analysis of moral     13 Q    You haven't encountered anything that is in
  14     issues arising in health care and the life          14     contradiction with what?
  15     sciences. The NCBQ seeks to foster intellectual     15        MR. RAMER: Objection to form.
  16     inquiry on moral issues by publishing articles      16 A    So in my scientific understanding of things that
  17      that address the ethical, philosophical,           17     could be understood, confirmed scientific
  18     theological and clinical questions raised by the    18     investigation, I've not encountered any
  19     rapid pace of modern medical and technological      19     scientific findings that would contradict
  20     progress. Inspired by the harmony of faith and      20     anything that is stated by the -- the Church.
  21     reason, the NCBQ unites faith in Christ to          21 Q    And so are your articles consonant with the
  22     reasoned and rigorous reflection on the findings    22     magisterium of the Catholic Church?
  23     of the empirical and experimental sciences.         23        MR. RAMER: Objection to form.
  24     While the NCBQ is committed to publishing           24 A    I will again state that I'm not a theologian and
  25     material that is consonant with the magisterium     25     that I don't make a claim to be able to know that

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   1   of the Catholic Church, it remains open to other       1    with any certainty. I'm not aware of any
   2   faiths and to secular viewpoints in the spirit of      2    contradictions.
   3    informed dialogue."                                   3 Q And one of the book chapters that you wrote was
   4        Were you aware of this mission of the             4    in the book "Transgender Issues in Catholic
   5   journal when you were invited to submit your           5    Health Care," and that was published by the
   6    articles for publication there?                       6    National Catholic Bioethics Center; is that
   7 A I don't recall reading this particular paragraph,      7    right?
   8   but it was my general understanding, and I've had      8 A That is correct.
   9   conversations with those on the editorial board        9 Q And you also received a certificate in healthcare
  10   of the journal, recognizing that the relationship     10    ethics from the National Catholic Bioethics
  11   between faith and reason and the importance of        11    Center?
  12    having scholarly articles that focus on              12 A Yes.
  13    scientific evidence.                                 13 Q And so let's pull up Exhibit 11. And this -- I
  14 Q What does it mean to be consonant with the            14   know we've also looked at this document together,
  15    magisterium of the Catholic Church?                  15   Doctor. This is the National Catholic Bioethics
  16        MR. RAMER: Objection to form.                    16   Center 2016 "Brief Statement on Transgenderism."
  17 A I'm not testifying as a theologian and I'm not        17   If you could scroll down a bit, you can see the
  18    qualified to do so.                                  18   citation there on the National Catholic Bioethics
  19        My understanding is -- is that they're           19    Center. There you go.
  20   speaking about areas related to the faith part of     20       So you've seen this document before; is that
  21    that component of faith versus reason.               21    right?
  22       In my experience, I have never encountered a      22 A Yes.
  23    situation where the scientific evidence              23 Q And on page 602, which is going to be a few pages
  24   contradicts anything in the area of faith, which,     24   in -- we can stop there. In this paragraph under
  25    again, is outside my area of expertise.              25   the subheading in italics "Catholic Health Care,"


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   1    it's -- the statement says as follows, "In light       1    relation to the affirmative model for gender
   2    of the scientific evidence showing that                2   dysphoria is based upon low quality of evidence
   3    transitioning has no demonstrated long-term            3    with questionable -- questionable long-term
   4    therapeutic benefit, and in light of Catholic          4   benefits, many concerns. And in that respect,
   5   teaching about the nature of the human person, no       5   that is what I understand to be in agreement with
   6    Catholic health care organization should               6    the statement in this paragraph.
   7    establish policies that positively affirm the          7 Q And does that include what this statement refers
   8   choice of any behavioral, hormonal, or surgical         8    to as the use of pronouns or sex specific
   9    gender transitioning of patients, personnel or         9    identifiers that are explicitly contrary to a
  10    other persons served by the organization. In          10    person's biological sex?
  11    addition, no Catholic health care organization        11        MR. RAMER: Objection to form. Beyond the
  12    should require its personnel to carry out,            12    scope.
  13    promote, refer for or otherwise cooperate             13 A It is -- as I said before, I am an expert as a
  14    formally in procedures involved in gender             14    pediatric endocrinologist and physician
  15    transitioning, especially surgical or hormonal        15    scientist. I am not a theologian. I am not
  16    interventions; require the use of pronouns or         16   offering opinions related to areas outside of my
  17    sex-specific identifiers that are explicitly          17    area of expertise.
  18    contrary to a person's biological sex; or             18 Q Well, as a physician scientist, what is your view
  19    otherwise require the affirmation of a false          19    of using pronouns or sex specific identifiers
  20    sexual identity for any persons who are or are        20    that are explicitly contrary to a person's
  21    planning on transitioning."                           21    biological sex?
  22         Did I read that correctly?                       22        MR. RAMER: Objection to form and scope.
  23 A If you're asking if you read the text there            23 A So I would say that it is important to recognize
  24    correctly, yes.                                       24   sex-based differences between males and females
  25 Q Do you agree that no Catholic health care              25   when one generates a differential diagnosis in a

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   1     organization should have policies that positively     1   treatment plan for any patients. To the extent
   2     affirm the behavioral, hormonal or surgical           2   that one clouds that recognition and influences
   3     gender transitioning of patients, personnel or        3   one's generation of that differential diagnosis
   4     other persons served by the organization?             4   or treatment plan, that one needs to maintain and
   5         MR. RAMER: Objection to form.                     5    be aware of the sexual identity of that
   6 A    I will state very clearly again that I am not        6    individual to deliver proper care to that
   7     serving as an expert witness as a theologian and      7    individual.
   8     don't hold opinions for this case in relation to      8        In that respect, it is important to
   9     that. Neither do I work at a Catholic healthcare      9    maintain -- to recognize and to maintain the
  10     institution. I work at a secular university, and     10   sexual identity of that individual who is being
  11     therefore this is outside of the scope of my area    11    cared for.
  12      of expertise.                                       12 Q Is sexual identity the same as pronoun use?
  13 Q    Do you have personal beliefs that align with this   13 A In my experience as -- as a physician in
  14     articulation in this -- in this paragraph?           14   practice, that when one uses pronouns that are
  15         MR. RAMER: Objection to form. Beyond the         15    not in accord with one's sexual identity, it
  16     scope.                                               16   leads to tremendous confusion and difficulty in
  17 A   I have many personal beliefs that I hold on a        17    being able to maintain that biological
  18     number of different topics. And in my role as a      18    perspective.
  19     physician scientist, one needs to assess the         19        I've been present on rounds where
  20     scientific evidence, the component here that is      20   sex-discordant pronoun usage has been used and I
  21     in this statement here, and that is the purview      21    have seen directly the ways in which that
  22     that I am offering to this court in relation to      22   influences one's decision-making in an adverse
  23     the scientific evidence.                             23    way. I'm also aware of other reports and
  24       And I would agree, as I stated repeatedly in       24   examples for which that has occurred in other
  25     my declaration, that the scientific evidence in      25   settings outside of my institution, again, more

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   1    hearsay, but certainly I do think that it can       1   assess that risk. One needs to understand if the
   2   affect one's effectiveness as a physician if one     2    question -- the most common reason why that
   3    loses sight of or does not fully appreciate the     3    individual would come to the attention of an
   4    sexual identity of the individual and using         4   endocrinologist is when they experience primary
   5    sex-discrepant pronoun usage does have an           5  amenorrhea, meaning that they go through puberty,
   6    influence on one's thinking.                        6   including breast development, they don't have any
   7 Q Do you think that a physician scientist who is       7    pubic hair or axillary hair development and
   8   treating patients with CAIS who lived entirely as    8    they're not menstruating. That's usually the
   9    a woman and used female pronouns for that           9   situation where we first recognize that they have
  10    individual could continue to treat her even        10    the condition. It would -- again, the pronoun
  11    though she had XY chromosomes?                     11    use is not at issue here. It is recognizing the
  12        MR. RAMER: Objection to form.                  12    reason for the amenorrhea and being able to
  13 A Well, again, I'm not fully understanding your       13    counsel that patient on any health risks that
  14    question. Can you repeat that in a way that I      14   they have related to their condition, being able
  15    can fully understand?                              15   to explain to them the basis of the disorder that
  16 Q Well, you said that -- well, as I understand it,    16   occurred, and certainly which often comes as a
  17   you said that use of pronouns can -- can impact     17    very difficult conversation about their
  18    the ability of a medical provider to treat, as I   18    infertility that they have.
  19   understand it, the sort of biological components    19 Q But at some point it might be that you would
  20    of sex. Is that part of what you were -- what      20    refer to this patient by a pronoun and still be
  21    you were explaining?                               21   able to treat all of these physical presentations
  22 A Yes.                                                22    that they appear with, isn't that -- isn't that
  23 Q And that previously we were talking about certain   23    right?
  24   individuals who have disordered -- excuse me --     24        MR. RAMER: Objection to form.
  25   yeah, who have disorders of sexual development.     25 A Again, you're making some -- a very broad


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   1    Is that -- is that a population of people that      1   statement. I think there are some aspects of the
   2    exist, we can agree on that?                        2    care that would require recognition of the
   3 A Yes.                                                 3   underlying disorder of sexual development and
   4 Q And so one of those people might be someone with     4   other aspects that would be independent of that.
   5   CAIS, complete androgen insensitivity syndrome,      5        In that situation, I think using the female
   6  who may have male chromosomes and other typically     6   pronouns would not be problematic. And, in fact,
   7   male biological features but who would likely use    7   in my own experience that is generally what is
   8    the pronouns, say, she/her.                         8    done for these affected individuals.
   9       Would use of the pronouns she/her for that       9 Q But when you are treating the underlying disorder
  10   individual impair the physician's ability to care   10   of sex development, is using the female pronoun
  11    for that patient?                                  11    problematic?
  12        MR. RAMER: Objection to form.                  12        MR. RAMER: Objection to form.
  13 A It's a very broad question. Depends on -- on the    13 A As I said before, one needs to -- this is --
  14   medical complaint that is coming for attention,     14   you're asking a very rare condition that applies,
  15   as some would be yes and some would be no.          15   you know, to a unique situation in which there
  16 Q So how would -- how would one ensure that that      16   may be lack of clarity on sexual identity. There
  17    individual is properly treated for all of the --   17   are different factors that apply to an individual
  18   the indications they may come to -- to treatment    18    that has a disorder of sexual development.
  19    for?                                               19        Generally speaking, those that are
  20        MR. RAMER: Objection to form.                  20   recognized to have a DSD are not going to be
  21 A So as a clear example of that, there is the         21   misperceived by claiming that they have -- don't
  22   question of having those XY chromosomes and a       22    have that disorder.
  23   gonad that is dysfunctional on the cancer risk of   23       You -- for example, you're not going to have
  24   that individual, recognizing that they have the     24   a situation where you have a female XX individual
  25   dysfunctional gonads and one needs to properly      25    that presents with abdominal pain using male

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   1   pronouns not telling their practitioner that they    1   not have a recognition of when we speak about the
   2   are biologically female and not being able to        2   complementarity between male and female forms, it
   3   entertain the diagnosis for abdominal pain of        3     actually speaks to what I discuss in my
   4   being related to pregnancy and labor. That's an      4    declaration of the unique roles of males and
   5   example, you wouldn't encounter that in a patient    5    females in that reproductive process, that the
   6    with a DSD.                                         6    physical structures of the body are intrinsically
   7        So, again, to make a blanket statement about    7   oriented toward the respective roles of males and
   8    a rare condition and the application of these       8    females in that reproductive process, that that
   9    general principles -- and, again, they are          9    is something that is central to the human body
  10    general principles that need to be applied to      10     and it reflects a purpose.
  11   unique patient situations, about the prudence of    11        The teleological complementarity relates to
  12    doing that.                                        12    the unique role of males and females that are --
  13         As I understood your initial question, it     13     that are designed by their very nature to
  14   was can it influence the accuracy of diagnosis,     14    participate in that reproductive engagement.
  15    and the answer is yes.                             15 Q And so would this be an area where you have found
  16 Q I don't think that that was my actual initial       16     that your scientific inquiry is not in
  17   question, but we can -- we can move on because      17    contradiction with the teachings of the church?
  18    it's been a while here.                            18        MR. RAMER: Objection to the form.
  19        So if we could pull up Exhibit 12. And this    19 A So, again, in relation to an understanding of
  20    is one of your articles, I believe, in the         20     male and female in the biological realm,
  21   National Catholic Bioethics Quarterly. Does this    21   independent of any theological assumptions, there
  22   look like, "The Use of Cross-Sex Steroids in        22   is a well recognized complementarity between male
  23   Treatment of Gender Dysphoria," was this --         23    and female forms. There are, indeed, in fact,
  24 A Yes.                                                24     not only the physical structures involved in
  25 Q And this was published in the National Catholic     25    the -- in the act of sexual intercourse, but also

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   1    Bioethics Quarterly; is that right?                 1     in the genetic differences between males and
   2 A Yes.                                                 2     females that pertain to the unique roles of males
   3 Q And if we could go to page 662 of -- of the          3     and females in the rearing of children that come
   4    article. I think -- no, no, if you scroll down,     4     from that reproductive act.
   5    the numbers are at the top, so it's right here.     5         We see this in the animal kingdom well
   6        And just at the top of the page, first          6     beyond humans in which there is -- there are
   7   complete sentence, so in this article you write,     7     traits that males have more predominant than
   8    "In stark contrast to Pope St. John Paul II's       8     females, again, there's significant overlap, that
   9    teaching on the theology of the body, which         9     give an advantage in different roles in raising
  10    illuminates a teleological complementarity         10     offspring. For example, the role of increased
  11   between male and female forms and an inseparable    11     lean body mass certainly is an advantage for
  12   unity of body, mind and soul, it is now openly      12     being a protector, defender and a gatherer of
  13   argued that the mind alone can and in some cases    13     nutrition in the male. It comes at a cost in
  14   should determine, or at least influence, reality    14     decreased life span, increased infection risk.
  15    in medical practice."                              15     There are roles in the female body that pertain
  16        Did I read that correctly?                     16     to the nurturing role, the ability to breastfeed
  17 A Yes, you did.                                       17     and nurture offspring that come with different
  18 Q And how does Pope St. John Paul II's teaching       18     costs, increased adiposity, decreased lean body
  19    come into your scientific analysis?                19     mass can be -- is clearly different between males
  20        MR. RAMER: Objection to form.                  20     and females. There are differences in the female
  21 A Well, I would state again, in the opinions that     21     body as far as susceptibility to autoimmune
  22   I'm offering in this case, I'm focusing on issues   22     diseases which is necessary in relation to being
  23    of science and best medical practice. I'm not      23     able to gestate an individual that has unique DNA
  24    making an argument based upon theological          24     within their own body.
  25   understanding, yet that does not mean that I do     25        So, again, the scientific understanding of

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   1   male and female and the complementarity between      1     this patient population."
   2    them from a purely scientific and biological        2        Did I read that correctly?
   3    nature is entirely consistent with this             3 A    Yes, you did.
   4   teleological complementarity that is addressed in    4 Q   And you're aware that one of the parents that you
   5    this paragraph in this paper.                       5     met with recently testified at the trial in
   6 Q And do you believe that males and females have       6     Dekker in Florida; is that right?
   7    unique roles in child-rearing?                      7 A   If you're referring to Ms. Hutton, yes.
   8        MR. RAMER: Objection to form.                   8 Q    Yes, I am. And in her testimony, she explained
   9 A So I would say that -- as I said before, that        9     that during the course of the conversation that
  10   there's obvious differences between males and       10     she had with you about her child with gender
  11    females in that females are able to breastfeed     11     dysphoria, you brought up the teaching of Pope
  12   and males are not. Females are able to gestate,     12     St. John Paul II; is that right?
  13    you know, and be able to deliver babies. The       13         MR. RAMER: Objection to form.
  14    male has a role of delivering sperm to the         14 A   To properly answer the question, I would need to
  15    female, which is a unique role of the male, so     15     explain the context of that conversation.
  16    there are clear differences between males and      16 Q   I don't -- I don't -- I don't -- I don't want the
  17    females.                                           17     context. I just want to know did you bring up
  18        And in the rearing of the children, now,       18     the teaching of Pope St. John Paul II in your
  19   recognizing that there's overlap between these      19     conversation with Ms. Hutton?
  20    traits and that there are roles that can be        20         MR. RAMER: Objection to form.
  21   assumed by both members of the -- of any species,   21 A    As was asked and responded to in the trial
  22    not just humans, there are -- there are distinct   22     transcript, I answered yes to that. Yes, it was
  23   advantages based upon the genetic and epigenetic    23     referred to.
  24    differences between the male and female.           24         MR. STRANGIO: Okay. So I could keep going,
  25 Q And on page 671 of this article, which is the       25     John and Doctor, or this is -- I'm sort of at the

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   1   last page, I believe -- wait, go up. Sorry, the      1    end of that particular line of questions, so we
   2    beginning of the conclusion.                        2   could break for lunch, we could break short. Do
   3       At the -- right below "Future Directions,"       3   you have a preference? I'm amenable to either.
   4   the sort of second clause of that first sentence,    4        MR. RAMER: I defer to Dr. Hruz. It sounds
   5   you write, "It is clear that the use of cross-sex    5    like he was inclined to take a short break and
   6   hormones for the treatment of gender dysphoria is    6    keep pushing, which is fine with me.
   7    immoral."                                           7        THE WITNESS: Why don't we take ten minutes.
   8       Is that a medical assessment?                    8        MR. STRANGIO: All right, let's take ten.
   9       MR. RAMER: Objection to form.                    9        (At this time a recess was taken.)
  10 A No. It is -- it is -- morality is in the realm      10 Q All right. Just one -- one last question on the
  11   that's outside of -- although we could use the      11    last topic we were talking about, the -- sorry,
  12    word ethics, I think it's within the medical       12    what is it called, the National Catholic
  13   practice to think about ethics, but morality and    13   Bioethics Quarterly. And just one question. Is
  14   the interrelationship between understanding of      14   treatment of patients with gender dysphoria with
  15    morality and ethics are related but distinct.      15    gender-affirming care consonant with the
  16 Q Understood. So going, if we could, back to your     16    magisterium of the Catholic Church?
  17   declaration, which is Exhibit 1, and paragraph      17        MR. RAMER: Objection to form.
  18   12, page 7, and here -- sorry, page 7, if you go    18 A You're asking me a question that's outside of my
  19    down a bit.                                        19    area of expertise that I'm testifying in this
  20      Right at the bottom there of that paragraph      20    case relating to a teaching of the National
  21    before 13 you write, "I have also consulted        21   Catholic Bioethics Center or the Catholic Church,
  22   with" -- sorry, "I have also consulted with, met    22    and I'm not opining on that.
  23   with, and had detailed discussions with dozens of   23 Q But -- but it is a publication that you've
  24   parents of children with gender dysphoria to        24    published in, that's correct; right?
  25   understand the unique difficulties experienced by   25 A That is correct.


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   1 Q    And you received a certification in healthcare      1     asserting of pronouns, dress in agreement with
   2     ethics from this center; is that correct?            2     that gender identity that's discordant with one's
   3 A   That is correct.                                     3     biological sex.
   4 Q    But you have no sense of whether treatment with     4 Q   As a physician scientist, do you oppose social
   5     gender-affirming care for patients with gender       5     transition as an intervention for patients?
   6     dysphoria is consonant with the magisterium of       6        MR. RAMER: Objection to form. Beyond the
   7     the Catholic Church?                                 7     scope.
   8        MR. RAMER: Objection to form. Asked and           8 A   Although it's beyond what I'm offering in this
   9     answered.                                            9     case, the question that I ask is what is the
  10 A    That is a question related to a theological        10     effect of social affirmation in the likelihood
  11     issue, and I'm testifying as a physician            11     that one is going to proceed on to receiving
  12     scientist, and my -- the basis of my opinions in    12     hormonal interventions. Again, as a physician
  13     this case are based upon scientific evidence, not   13     scientist and an endocrinologist, I'm aware of
  14     theological principles.                             14     the literature that shows quite clearly that
  15 Q    Oh, I'm not asking if it's the basis of your       15     nearly -- that there is -- it's not a neutral
  16     opinion. I'm just asking based on your              16     intervention, that those that are socially
  17     understanding, is the provision of                  17     affirmed are much more likely to proceed on to
  18     gender-affirming care to treat gender dysphoria     18     pubertal blockade. Those that receive pubertal
  19     consonant with the magisterium of the Catholic      19     blockade, almost all go on to receive cross-sex
  20     Church?                                             20     hormones.
  21        MR. RAMER: Objection to form. Asked and          21        So in that context of assessing the effect
  22     answered. Beyond the scope.                         22     of social affirmation on the progression to
  23 A    Again, I don't -- I don't have a basis to speak    23     medical interventions, that is the realm that --
  24     for that organization and I'll reserve my           24     that I'm aware of as my -- in my role as a
  25     comments to my role as a physician scientist and    25     physician scientist and endocrinologist.

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   1    pediatric endocrinologist.                            1 Q    Does existing evidence tell you anything about
   2 Q And just one question on a topic we covered            2     causation with respect to social transition and
   3   earlier, and I think my understanding was limited      3     the subsequent process of going on to puberty
   4   as to -- to the science, which is probably not         4     blockade?
   5    going to surprise you.                                5        MR. RAMER: Objection to form and beyond the
   6        Going back to surgical interventions of           6     scope.
   7   infants with disorders of sex development. So          7 A   Again, beyond the scope of what I am testifying
   8    taking one example, let's say surgical                8     about, but in general, the literature that is
   9   intervention on the genitals of an infant with         9     available right now is very deficient in being
  10   CAH to create a more typical vagina appearance,       10     able to make any causal conclusions, merely
  11   are there long-term studies showing benefit of        11     associations can be inferred, and that's based
  12    that surgical intervention?                          12     upon the way that the clinical evidence has been
  13 A Actually there are studies that show difficulties     13     collected to date, based upon cross-sectional
  14   that these patients encounter when it is done at      14     surveys and other research tools that cannot
  15   that early age as far as the functioning of the       15     establish that causal relationship.
  16    vagina, requiring dilation and things of that        16 Q    So you're not aware based on the evidence of a
  17   nature later, and so that's one of the bases for      17     causal relationship between social transition and
  18    delaying intervention.                               18     going on to puberty blockade to treat gender
  19 Q Okay. Thank you for clarifying that. So have          19     dysphoria?
  20    you ever heard the term social transition?           20        MR. RAMER: Objection to form and beyond the
  21 A Yes.                                                  21     scope.
  22 Q And what is your understanding of what social         22 A    I think it is again beyond -- so, again, speaking
  23    transition is?                                       23     from the role of a pediatric endocrinologist, it
  24 A That is the allowing of an individual that has        24     is an association that, again, one needs to
  25    sex-discordant gender identity to assume             25     recognize in relation to when the pediatric

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   1     endocrinologist would be called upon to -- to        1        MR. RAMER: Objection to form.
   2     intervene in this condition, so that is --           2 A So I would say using the word lie implies an
   3     certainly as in other areas, one needs to            3   understanding of the intent of the individual and
   4     consider and -- but there's an absence of the        4   their understanding, so, again, I would need to
   5     high quality studies that need to be done to         5   look at the context of which that statement was
   6     establish that causal relationship.                  6    made.
   7 Q    Is it your view that any psychological treatment    7        I would say that if the statement is being
   8     or social transition or affirmation are beyond       8   made in relation to accepting an understanding of
   9     the scope of your expertise in this particular       9    one's sexual identity that is not objectively
  10     case?                                               10    true, then it would at least be a false
  11         MR. RAMER: Objection to form.                   11    statement, again, so that's -- that's the best I
  12 A    The -- the degree to which I am opining is         12    can answer.
  13     contained within my declaration, and it involves    13 Q And in your -- starting with in your medical
  14     really the -- the point at which the pediatric      14   practice, are you personally opposed to referring
  15     endocrinologist is engaged in assessing the         15   to a transgender person by pronouns other than
  16     relative risks and benefits of medical and gender   16    the ones that align with their natal sex?
  17     affirmation.                                        17 A So in my practice, one needs to be sensitive to
  18 Q   So in the past you have weighed in as -- as         18   the individual and their individual needs. My
  19     amicus in at least one case involving the use of    19   role is generally relegated to delivering care
  20     pronouns at a university; is that right?            20   for endocrinologic issues, and we've already
  21 A   Yes, many years ago, so if we're going to talk      21    stated the basis by which I think it is very
  22     about that, it would be good to bring up and        22    important to maintain that sexual identity.
  23     discuss within the context of where those           23       I can see circumstances where theoretically,
  24     statements were made, but, yes.                     24   hypothetically one could establish a relationship
  25 Q    We don't need to go into any amount of detail,     25   with a patient where that understanding could be

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   1   but just some general questions about pronoun use      1    maintained to be able to best serve that
   2    in adults. If you recall -- do you at least           2    individual. In my practice, I've not -- has not
   3   recall that the case concerned an adult college        3    necessitated me doing so. I think the most
   4    student and a professor?                              4   compassionate way to maintain both the biological
   5 A I would need more information to refresh my            5    reality of the patient that's presenting to me
   6    memory on the specific document that you're           6    for care and respecting where they're at with
   7    speaking of.                                          7    their understanding of their gender identity is
   8 Q Well, so why don't we just speak in generalities       8   to engage in a conversation where gender neutral
   9   because we don't need to go through an amicus          9   terms are used and therefore one can accomplish
  10   brief, I don't think, but we can maybe come back      10    the goal of accepting the sensitivity of one's
  11    to it.                                               11   understanding of their sexual identity, but also
  12        Do you believe it is a lie to refer to           12   maintain that biological sexual identity that is
  13   someone by a pronoun other than the one that we       13   present, and that's been very effective for me in
  14    typically associate with their natal sex?            14   my practice, and most -- actually, I've never had
  15        MR. RAMER: Objection to form.                    15   a situation where a patient has objected to that.
  16 A I will state again that if you're asking me to        16 Q And what about outside your practice, just in
  17   opine on statements that were made in a document      17    your personal and professional life, with a
  18   that are taken out of context that may convey an      18   colleague or someone else, would you object to
  19   incorrect portrayal of how I made that statement,     19   referring to someone with pronouns different than
  20    I'm not able to do that.                             20   those typically associated with their natal sex?
  21 Q I'm not reading from a document. I'm just asking      21        MR. RAMER: Objection to form. Beyond the
  22   you as -- as Dr. Hruz, do you believe it is a lie     22    scope.
  23   to refer to a person by a pronoun other than the      23 A There are a multitude of types of circumstances
  24   one that we typically associate with their natal      24   where conversations such as that might occur,
  25    sex?                                                 25    and, in general, I'm fairly consistent in my

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   1   approach, and, therefore, because I do in my          1 Q Do you consider the provision of gender-affirming
   2    medical practice, I tend to engage in those          2   medical interventions to adolescents with gender
   3   conversations in the same way with colleagues in      3    dysphoria to be a form of child abuse?
   4   other situations, but without having the details      4        MR. RAMER: Objection to form. Calls for a
   5   of a context of the conversation and the person       5    legal conclusion.
   6   that I'm speaking to, you know, I would say that      6 A So, again, I'm going to reiterate again that I'm
   7   my general approach is to use gender neutral          7   offering my expertise as a physician scientist, a
   8    language.                                            8    pediatric endocrinologist to the care of
   9 Q For every person or just people you perceive to       9    individuals that are requesting medical
  10    be transgender?                                     10   interventions that involve cross-sex hormones and
  11       MR. RAMER: Objection to form. Beyond the         11    puberty blockers.
  12    scope.                                              12        The question that you're asking me is
  13 A So I think that it's pretty obvious in my            13   outside of the opinions that I'm offering in this
  14   conversations with other people outside of the       14   case and really involve a -- a question about --
  15   area of gender dysphoria where one can use, you      15   you know, I would say that if one looks at what
  16   know, the pronouns that are consonant with one's     16    the relative risk and benefit is and one has
  17   biological sex. That is not something I think        17    concluded that one is engaging in an activity
  18    about. I just -- as most people do.                 18    that one has a high degree of confidence is
  19 Q But if you think a person might be expressing        19    causing harm to that individual, then the
  20   themselves different than their biological sex,      20   assessment would depend upon what the intention
  21   you would use gender neutral pronouns; is that       21   and knowledge of that person would -- that was
  22    right?                                              22    engaging in that.
  23       MR. RAMER: Objection to form. Beyond the         23       Generally in medicine, we tend to want to
  24    scope.                                              24   maximize benefit and minimize harm, and there are
  25 A Again, you're asking a hypothetical, and I think     25    questions in relation to the engagement of

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   1   there are many circumstances that would influence     1   gender-affirming medical interventions where one
   2     the answer to that question. And I've not           2    is altering the body in a way that has
   3    encountered situations that you're referring to      3    potentially irreversible effects on ability to
   4    where there's ever been difficulty in having that    4   participate in reproduction, health risks, and
   5   conversation with somebody, whether I suspected       5    unknown -- and uncertain benefit.
   6    or knew that they had a sex-discordant gender        6 Q Do you think, for example, the practitioners at
   7    identity, so, again, you're asking very general      7   the Transgender Care Center at Washington
   8    questions that are private conversations with        8    University are intentionally harming their
   9     individuals that would depend upon the              9    patients?
  10    circumstances, and my approach is generally         10        MR. RAMER: Objection to form.
  11     consistent.                                        11 A So you're asking me to speculate on what the
  12 Q And when you say your approach is generally          12   motivations are of my colleagues. I can only
  13     consistent, that is to use gender neutral          13   share with you the conversations that I've had
  14     language; is that right?                           14   with them as I shared with them my concerns about
  15        MR. RAMER: Objection to form. Asked and         15   the scientific evidence, the relative risks and
  16     answered.                                          16   the purported benefits. Most of them are not
  17 A Actually that's not what I said. I -- I said         17    aware of the literature that I'm aware of and
  18     that in the situations where I perceive that       18    that others that -- and -- or they don't
  19    there may be difficulty in using a pronoun that     19    recognize the difficulties in the scientific
  20    is consonant with one's sexual identity, I will     20    evidence base that is present.
  21    use gender neutral language. That applies only      21       Most of them believe that they are providing
  22    to those situations where I have that perception.   22    help to these individuals. And there's a
  23     And, again, I've never encountered any             23   profound disagreement based upon objective
  24   conversations where one has been offended with       24   scientific data in my conclusions versus their
  25     the way that I've referred to them.                25    approach.

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   1 Q Is it your expert opinion that no individual can      1     for whom the relative benefits outweigh the
   2   ever benefit from gender-affirming medical care       2     relative risks?
   3    to treat gender dysphoria?                           3        MR. RAMER: Objection to the form.
   4 A You're asking -- this is actually one of the          4 A    As I stated previously, I think as a scientist,
   5   concerns I have with the way that the research is     5     one needs to be open to hypotheses and the
   6    presented. That is, in the area of scientific        6     conduct of experimentation to be able to answer
   7   investigation in medicine, one would be very          7     those questions.
   8   cautious about using a definitive statement of        8         If I approached science with a conclusion
   9    that nature.                                         9     without evidence, that would not be proper
  10        I think that the way I look at this is          10     science.
  11    assessing the relative risk versus relative         11 Q    I know that you're cautioning about sort of
  12    benefit and trying to maximize benefit and          12     speaking in categoricals, but law is very
  13   minimize harm to these individuals based upon all    13     categorical and this is a circumstance in which
  14   of the Belmont principles and ethics of medical      14     the law is operative to categorically restrict
  15    practice, so that I think it would be -- one        15     care for everyone. It's not an individualized
  16    would be a very poor scientist if one began         16     weighing of the risks and benefits, so I just
  17    making a definitive conclusion without              17     want to get at sort of just -- you know, sort of
  18    investigating.                                      18     given that context, could there be someone,
  19        I think many in the field here have made        19     just -- you know, even if it's a hypothesis that
  20   those definitive conclusions on the contrary.        20     there might be a person for whom the relative
  21   You know, I mean, they make the statements that      21     benefits of the treatment might outweigh the
  22   they know it's going to be beneficial when they      22     relative risks?
  23   really don't have the evidence to support that,      23         MR. RAMER: Objection to the form.
  24    so.                                                 24 A    So acknowledging that this is an incomplete
  25 Q Who -- who has made that -- that statement that      25     hypothetical with all of the circumstances not

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   1     they know it's going to be beneficial for an       1    apparent in the discussion, if one were to
   2     individual patient?                                2   speculate whether a thousand people would be
   3 A    Your own plaintiff witnesses have made repeated 3     harmed and one would be helped, one could argue
   4     statements in their declarations saying that this 4    that prudence would suggest to prevent the harm
   5     is a form of intervention that has proven to be 5       to that thousand individuals to -- at the risk of
   6      effective and -- and it's contained well within 6      preventing the benefit for that one.
   7     their declarations making definitive statements 7           Again, this is a hypothetical and it cannot
   8     about proven benefit that is not supported by the  8    be answered definitively, and I think that in
   9      scientific evidence.                              9    medicine we often are -- encounter these
  10 Q     Well, I think I'm asking you about the -- as to 10   situations where we weigh relative risks versus
  11     an individual patient. Are you aware when -- of 11      benefit, and in the rare exception, if the harm
  12     someone saying I can prove -- I know that this is 12    is much greater or proportionate to potential
  13      going to benefit you definitively, is that       13    benefit without exploration of alternative
  14      something you're personally aware of?            14   approaches that would not carry that same risk,
  15          MR. RAMER: Objection to the form.            15   it would be imprudent as a physician to engage in
  16 A    That wasn't what I was referring to when I made 16     that medical practice.
  17     that statement. And you're asking me a question 17 Q Do you know any transgender people?
  18     about a conversation that an individual would 18 A Yes.
  19      have with a private conversation between a 19              MR. RAMER: Objection to the form.
  20     physician and a patient, and I'm not making that 20 Q And do you know any transgender people who are
  21     claim. I'm only making the statement that many 21      currently receiving gender-affirming medical care
  22     that are supportive of the affirmative model have 22    to treat gender dysphoria?
  23      made conclusions about a benefit that aren't 23            MR. RAMER: Objection to the form.
  24      supported by the science.                        24 A So you're asking me a personal relationship with
  25 Q    Do you think that there may be some individuals 25    people that are receiving hormonal -- I already

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   1   mentioned to you that I -- I am caring for people     1 Q So going to paragraph 21 of -- of your report, so
   2     in my clinic or in the hospital that are            2    that would be Exhibit 1.
   3    receiving affirmative medical interventions as I     3       Paragraph 21, so maybe a few pages down. I
   4    care for their other endocrine diseases, so I've     4    can see -- there we go. Thank you.
   5     already actually answered that.                     5       So this is where you're talking about gender
   6 Q Any others outside your clinical practice?            6   identity, and you write, "Gender identity refers
   7         MR. RAMER: Objection to the form. Beyond        7    to a person's individual experience and
   8     the scope.                                          8   perception and unverified verbal" -- excuse me,
   9 A It certainly is beyond the opinions I'm offering      9   "unverified verbal patient reports of how they
  10    in this case. But I would say that one of the       10   experience being male or female or a combination
  11    individuals that was an active participant in our   11   of these or other categories. The term gender
  12     DSD clinic would fit into that category.           12   identity is controversial. There is no current
  13 Q And has anyone ever told you that they benefited     13   worldwide definition of gender identity accepted
  14    from gender-affirming medical interventions to      14    by the relevant clinical communities. The
  15     treat their gender dysphoria?                      15   measurement error rate for gender identity is
  16         MR. RAMER: Objection to the form.              16    unknown."
  17 A So you're -- you're asking -- well, I would say      17        Did I read that correctly?
  18     that there are many that have the belief that      18 A Yes, you did.
  19    they are benefited by this intervention. I don't    19 Q What do you mean by "the term gender identity is
  20   rely upon those subjective data when I'm looking     20    controversial"?
  21     at the scientific literature about what the        21 A I would -- what I mean by that is that people use
  22   long-term outcomes are, which we don't have clear    22    that term in different ways for different
  23   answers, but I am aware of individuals that -- in    23    purposes. It's not uniform. Some actually
  24   fact, Ms. Hutton in her testimony gave a story of    24   conflate sexual identity and gender identity and
  25    her experience with her child. I don't have the     25   use them interchangeably. Some are restricting

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   1   basis to assess, you know, the details of what's      1    that to one's perception of their gender
   2    going on in that particular case, but that is an     2    identity.
   3   example of something that has been presented to       3       The whole concept of gender based upon
   4    me where one has made that claim.                    4    stereotypical behaviors that are assigned to
   5 Q Turning back -- actually, just a quick question.      5    males versus females again is an area that is
   6    Have you ever treated any of the plaintiffs in       6   imprecise. Many assumptions are made in those
   7    this case?                                           7    stereotypical behaviors. And so one's
   8 A No.                                                   8   understanding of what that means even within the
   9 Q And have you ever practiced medicine in Indiana?      9   various individuals that make that claim means
  10 A No.                                                  10    different things to different people.
  11 Q And do you have any personal knowledge of how        11 Q So by controversial, did you mean inconsistent?
  12   treatment is provided to adolescents with gender     12 A Meaning that there is no accepted universal
  13    dysphoria in Indiana?                               13    definition of that term that can be used with
  14 A I do based upon the statements that are present      14   precision in carrying on conversations related to
  15    in the declarations of the experts in your case     15    this area.
  16   and the claims that they are following the WPATH     16 Q And what are the -- what are the relevant
  17    guidelines.                                         17    clinical communities?
  18 Q But other than the documents in this case, do you    18 A I'm a physician scientist, and I think that when
  19   have any personal knowledge of how treatment for     19    we talk about the role as opposed to sexual
  20   gender dysphoria is provided to adolescents in       20    identity, I think there are very clear
  21    Indiana?                                            21   understanding of what we mean by sexual identity.
  22 A Meaning have I directly been engaged in medical      22   There are clear and obvious measurements of error
  23    practice in Indiana, no. Have I had direct          23   rate in making a determination of one's sexual
  24    conversations with physicians that practice in      24   identity, and that is the domain that is relevant
  25    Indiana, no.                                        25   to a pediatric endocrinologist in being able to

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   1   care for various endocrinologic disorders.           1    of sexual differentiation which is initiated at
   2 Q Is sexual identity the same as biological sex?       2   the union of the sperm and an egg will determine
   3 A I would say they're -- they're very equivalent,      3   which pathway one goes through. In that sexual
   4   yes. We're talking about the biological nature       4   differentiation from male to female phenotypes,
   5   of that person as it relates to all of the           5   there's a complex cascade of signaling processes
   6   factors that I outlined in my declaration that       6   that are present directed by predominantly SRY,
   7   are in regards to reproductive orientation.          7    which is the sex determining region of the Y
   8 Q What do you mean by error rate for gender            8   chromosome. There are other factors that are
   9   identity?                                            9   involved in that differentiation process. There
  10 A By that I mean that what is the -- when somebody    10   are things that can occur to disrupt that normal
  11   claims to have a particular gender identity, it     11    differentiation process, but as stated in this
  12   relates to how accurate that is, whether one is     12    sentence, it is an objective biological
  13   going to -- for example, we know with sexual        13   phenomenon that is recognized, not assigned at
  14   identity that the error rate is very small, less    14    birth.
  15   than 0.02 percent in being able to look at the      15 Q And except in the case of people with disorders
  16   appearance of the external genitalia and be able    16    of sexual development in which there are sex
  17   to recognize that sexual identity.                  17    assignments made at birth; is that right?
  18      When one looks at gender identity, there are     18 A That is correct.
  19   many unknowns. For example, there are many that     19 Q What makes someone an expert on the treatment of
  20   claim those that present with sex-discordant        20    gender dysphoria?
  21   gender identity that later recognized that there    21        MR. RAMER: Objection to form.
  22   was another problem, the term that we often         22 A There are many who claim to be experts.
  23   describe as desistance, those error rates, if you   23    People -- it depends on one's training,
  24   consider that an error rate, somebody -- I know     24    experience, knowledge of the scientific
  25   many that argue that if one has that experience,    25    literature. There are many different areas

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   1    they never were truly, quote, transgender,          1   related to what we consider expertise, and that
   2   unquote, that that would involve an error in the     2   can involve the scientists, that can involve the
   3   understanding of that perceived identity of that     3   clinician. I think it relates to the
   4   individual. It is unknown because much of the        4   understanding of the field, not only in gender
   5    literature fails to recognize long-term             5   dysphoria, but any field of medicine, and to be
   6   follow-ups. Many of the studies involve patients     6   able to -- to be able to make a definitive -- or
   7    that are lost to follow-up.                         7   to make solid assessments of -- of the -- of the
   8        The survey methodology looking for that         8   medical area that we're talking about.
   9    remains incapable of ascertaining the true          9 Q And what makes you an expert in the field of
  10   denominator as far as number of individuals that    10   treatment for gender dysphoria?
  11    have that experience, so unlike sexual identity    11 A Well, as I have tried to convey in my
  12   that is precise and we know the very small chance   12   declaration, I was forced, necessitated myself
  13    that one is going to arrive at an incorrect        13   becoming familiar with the arguments that were
  14    conclusion of sexual identity, the error rate in   14   being made for the affirmative model in my role
  15   understanding the true -- the gender identity of    15   as chief of our Division of Endocrinology and
  16    that individual is imprecise and, as I said,       16   Diabetes when the proposal was made to establish
  17    unknown.                                           17   a gender clinic. That has necessitated that I
  18 Q At the bottom of page 8, paragraph 14 -- at the     18   have become familiar with the scientific
  19   bottom of the paragraph, yes. So you write, "Sex    19   literature.
  20    is not" -- excuse me. "Sex is not assigned at      20       In my conversation with many of my
  21   birth. It is permanently determined by biology      21   colleagues, my knowledge of the scientific
  22    at conception."                                    22   evidence is on par, if not far exceeding some of
  23        Do any aspects of sex change after             23   the individuals that are providing this care in
  24    conception?                                        24   the clinic, to be able to carry on a cogent
  25 A Yes. So that the -- so that the -- the process      25   dialogue regarding the relative risks and

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   1     benefits of that intervention.                      1   on -- on my knowledge, what I can contribute to
   2        So being aware of the model of care and the      2   this court case.
   3     relative risks and benefits, the scientific         3 Q But you didn't know of Dr. Weiss, who is an
   4     studies in relation to that and being recognized    4   endocrinologist, prior to this case?
   5     by my peers, being invited to give medical grand    5       MR. RAMER: Objection to form. Asked and
   6     rounds, being invited to deliver lectures, being    6   answered.
   7     asked to -- to contribute to the scholarly          7 A Correct. I've not previously had conversations
   8     literature all are reflections of one who has       8   with Dr. Weiss and don't have a basis to make any
   9     established a -- a degree of expertise in a         9   determination.
  10     particular field.                                  10 Q Do you know who Diane Kenny is?
  11 Q    Are there other people other than yourself that   11 A Diane Kenny?
  12     you would consider experts on the treatment of     12 Q Yeah, K-E-N-N-Y. Do you know who Diane Kenny is?
  13     gender dysphoria?                                  13 A No.
  14 A   By that definition, yes.                           14 Q Do you know who Christopher Kaliebe is?
  15 Q   And who are -- who are they?                       15 A No.
  16 A   It's a very extensive list. I know many that       16 Q Do you know who James Cantor is?
  17     have a similar knowledge that are, for a variety   17 A Yes.
  18     of reasons, based on other professional and        18 Q Were you familiar with James Cantor prior to this
  19     personal obligations are not, like myself,         19   case?
  20     willing to -- to speak and engage in the           20 A Only from things that have been read and that he
  21     conversation. The list is so extensive that        21   has published on Internet articles.
  22     there is no possible way that I would be able to   22       MR. STRANGIO: I might be close to done
  23     give you that list.                                23   here, John, if I can just take five to chat with
  24        Many of them have served as experts in the      24   my team and then we can come back.
  25     legal cases that we're talking about here. Many    25       MR. RAMER: Sounds good. Does that work for

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   1    have also contributed to the literature in this      1     you, Doctor?
   2    area. They've been involved in some of the           2        THE WITNESS: That'd be fine.
   3   systematic reviews that we mentioned earlier.         3        (At this time a recess was taken.)
   4    It's a very long list, and I wouldn't be able to     4 Q    Doctor, I do have just two more questions, but
   5    give justice to -- by naming just a few names        5     that's it. We're getting close to the end.
   6   when there are so many that have had the same         6        So we were speaking just before the break
   7    experience as I have had in looking at the           7     about experts in the treatment of adolescents
   8    literature and becoming familiar with it and         8     with gender dysphoria.
   9   being able to make the same conclusions that I've     9        Are any of the clinicians at the St. Louis
  10    made in my declaration.                             10     Children's Hospital at the Transgender Care
  11 Q Do you know who Daniel Weiss is?                     11     Center experts in the treatment of adolescents
  12 A I know Dr. Weiss, yes.                               12     with gender dysphoria?
  13 Q Did you know of him before this case?                13        MR. RAMER: Objection to the form.
  14 A No.                                                  14 A   You're asking me to speculate on what their
  15 Q Did you read Dr. Weiss's declaration and CV?         15     designation is. I would say that my colleagues
  16 A No.                                                  16     would themselves consider them to be experts in
  17 Q Do you consider Dr. Weiss to be an expert in the     17     the area.
  18    treatment of gender dysphoria?                      18        In my conversations with my colleague who
  19         MR. RAMER: Objection to form.                  19     runs the center, the endocrinologist, I think my
  20 A Again, I am not going to opine on things that        20     knowledge of the scientific literature is far
  21   I -- I'm going to -- in my role, I'm focusing on     21     more extensive than his, but I think that they
  22    my area of expertise and not making any             22     would consider themselves to be experts.
  23    conclusions about any -- anybody else that is       23 Q   Would you consider them to be experts?
  24   presenting as an expert. They would need to make     24        MR. RAMER: Objection to the form. Asked
  25    their own determination. I'm going to focus         25     and answered.

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   1 A    So I think it depends on what you -- how you      1        MR. RAMER: Objection to the form. Beyond
   2     define experts. And I've already provided my       2    the scope.
   3     definition of what is necessary to be an expert.   3 A Again, beyond what I'm going to be testifying in
   4          My colleague, Dr. Lewis, has delivered        4    this case. There is more evidence in the adult
   5     presentations at Washington University that are 5       literature than there are in the -- in the
   6     generally devoid of discussion of the level of 6        pediatric world as far as long-term effects.
   7      science that I generally speak about.             7   Some of them are different questions. There are
   8 Q     Does someone need to have your level of          8   shared concerns. Much of what we are applying to
   9      understanding of the scientific literature in     9   the care of adolescents is based upon long-term
  10      order to be an expert in the treatment of        10    understanding of effects in adults, and to that
  11      adolescents with gender dysphoria?               11    respect, that will be shared in both -- both
  12          MR. RAMER: Objection to the form.            12    domains, but there are certainly many other
  13 A    Again, it depends on how one defines what an 13        aspects that are quite different. The use of
  14      expert is. There are different forms of          14   puberty blockades is very different. The effects
  15     expertise, and -- and different ways that people 15     of puberty is very different. The changing
  16      use to designate that.                           16   demographics of the patient population is very
  17 Q    Might Dr. Lewis, who runs the Transgender Care 17      different. So I would say that -- that they
  18      Center at St. Louis Children's, be a clinical 18      are -- would require a different analysis. Some
  19      expert in the treatment of adolescents with 19         of the information would overlap. Much of it
  20      gender dysphoria?                                20    would be different.
  21          MR. RAMER: Objection to the form.            21 Q When you talk about long-term effects, what --
  22 A    It depends on how you define expertise. I have 22     what is a long-term effect? How long a period
  23      more publications in the area than he does. 23         would you need to study the effects?
  24 Q    You're talking about publications in the area of 24 A Well, I can point to the -- probably the longest
  25     treatment of adolescents with gender dysphoria? 25      available studies that are available that -- that

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   1 A    We've already gone over the papers that I have      1    do not include some of the limitations,
   2     published in this area, so, again, it depends on     2   methodologic limitations, for example, would
   3     how one defines expertise and, again, you know,      3   refer to the Dane study with the Swedish total
   4     how one makes that assessment and whether one        4    population cohort showing persistence of
   5     feels that they are qualified to speak in this       5    psychological morbidity, elevated rates of
   6     area.                                                6   completed suicide after experiencing or being
   7 Q    I was just referring to when you said "this         7   engaged in medical affirmation, recognizing that
   8     area," you're referring to the area of treatment     8   that study was not controlled, can't say anything
   9     of adolescents with gender dysphoria?                9   about the actual effect of the intervention, but
  10 A   Yes.                                                10    merely illustrates the fact that these patients
  11 Q    And how would your declaration in this case be     11    are continuing to suffer, quite in contrast to
  12     different if this was concerning the provision of   12    the arguments that are made to the contrary.
  13     care to adults?                                     13        There are adult data, for example, looking
  14         MR. RAMER: Objection to form. Beyond the        14    at persistence of need for psychiatric care,
  15     scope.                                              15    psychiatric medications that are looking
  16 A    I would say that I would not be submitting a       16   long-term from databases. There's a whole host
  17     declaration as a pediatric endocrinologist in       17    of literature that's out there. Again, some of
  18     relation to adults because my area is -- is as a    18    it will be relevant, some of it not so much in
  19     pediatric endocrinologist, unless you were going    19    addressing this question in the adolescent
  20     to include patients that extend into the early      20    population.
  21     20s, which I do have contact with.                  21 Q I'm just asking you what is long -- like what
  22 Q    And do you have the same reservations with         22   would you consider long-term? One year, five
  23     respect to treatment for adults that you have       23    years, ten years?
  24     with respect to treatment for adolescents with      24 A So if you look at the Wiepjes paper, the
  25     gender dysphoria?                                   25   long-term, you know, follow-up, it indicated that


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   1     the average age to desistance was over ten years,    1     unless I have any follow-up from whatever John
   2     so I would say that if you're going to have the      2     has.
   3     outcome of, you know, whether one has the            3        MR. RAMER: No, I have no questions for the
   4     experience of going through this transition only     4     witness.
   5     to discover later that it didn't solve their         5        MR. STRANGIO: All right. Well, Dr. Hruz,
   6     problems, one would at least need to follow it       6     good to see you. I imagine the court reporter
   7     out to that end point, again, extrapolating the      7     may have some spellings, but I could be wrong.
   8     data that we have in adults to the pediatric         8         MR. RAMER: We'd like to review and sign as
   9     population.                                          9      well.
  10 Q    So if you did have data that followed patients     10         MR. STRANGIO: And, Dianne, I think we have
  11     for a period of time over ten years, would that     11      requested it for Monday.
  12     be a sufficient long-term study in your view?
                                                             12         (Deposition concluded at 1:41 p.m.)
                                                             13       AND FURTHER THE DEPONENT SAITH NOT.
  13         MR. RAMER: Objection to the form.               14
  14 A    So you're asking about -- it depends on how the    15                   _________________________
  15     study was done. I'm not -- just -- time would                            PAUL W. HRUZ, M.D., PH.D.
  16     not be the sole factor. There would be other        16
  17      factors about assessing the reliability of the     17
  18     methods that were used in the study, the tools      18
  19     that were used in the measurement, so it would      19
  20      certainly be one component.                        20
  21         And I do think that you can get even shorter    21
  22     term data depending on the outcome that you're      22
  23     measuring, but if we're going to make an            23
  24     assessment about the error rate, as we discussed    24
  25     previously, trying to make a prediction about       25


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   1    those, we're starting to see a larger number of       1   STATE OF INDIANA )
   2    people that are coming forward with the                             ) SS:
   3    experience of desistance that we had not              2   COUNTY OF MARION )
   4   recognized previously. The question out there is       3     I, Dianne Lockhart, RMR, CRR, a Notary Public in
   5   how many does that involve. Time of follow-up is       4   and for the County of Marion, State of Indiana at
   6    critical. The patients that are lost to               5   large, do hereby certify that PAUL W. HRUZ, M.D.,
   7    follow-up is critical in that assessment. The         6   PH.D., the deponent herein, was by me first duly
   8    nature of the study as far as how the patients        7   sworn to tell the truth, the whole truth, and nothing
   9    were recruited and the tools that were used to        8   but the truth in the above-captioned cause.
  10    assess the outcomes are necessary as well.            9      That the foregoing deposition was taken on
  11 Q So it sounds like this is another example of more
                                                             10   behalf of the Plaintiffs via videoconference in
                                                             11   Manchester, St. Louis County, Missouri, on the 1st
  12    research needed for longer periods of time; is
                                                             12   day of June, 2023, pursuant to the Applicable Rules.
  13    that right?                                          13      That said deposition was taken down in
  14        MR. RAMER: Objection to the form.                14   stenograph notes and afterwards reduced to
  15 A So as I said previously, at present the
                                                             15   typewriting under my direction, and that the
  16   conclusion that the relative risks outweigh the       16   typewritten transcript is a true record of the
  17   purported benefits is based upon the currently        17   testimony given by said deponent; and thereafter
  18    available evidence. As a physician scientist,        18   presented to said deponent for their signature.
  19    there's a need to gather other relevant              19       That the parties were represented by their
  20   information and do more clinical studies. And --      20   aforementioned counsel.
  21    and that is something that anyone who is a           21       I do further certify that I am a disinterested
  22    physician scientist would agree with.                22   person in this cause of action; that I am not a
  23        MR. STRANGIO: Okay. I think -- waiting to        23   relative or attorney of either party, or otherwise
  24   see one thing. Okay, I will go ahead and pass         24   interested in the event of this action, and am not in
  25   the witness. Thank you, Dr. Hruz, for your time,      25   the employ of the attorneys for either party.

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   1     IN WITNESS WHEREOF, I have hereunto set my hand
   2   and affixed my notarial seal this _____ day of
   3   __________________, 2023.
   4
   5                ______________________________
                       Dianne Lockhart, RMR, CRR
   6                      Notary Public
   7
   8   Commission Number NP0668781
   9
       My Commission Expires:
  10   June 4, 2031
  11
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   8
       K.C., et al.,             )
   9                         )
                     Plaintiffs, )
  10                         )
            -vs-               )
  11                         )
       THE INDIVIDUAL MEMBERS OF THE )
  12   MEDICAL LICENSING BOARD OF )
       INDIANA, in their official )
  13   capacities, et al.,         )
                             )
  14                 Defendants. )
  15
           In compliance with the Indiana Rules of
  16   Procedure, Federal Rules of Civil Procedure and/or
       the Rules of the Industrial Board, you are notified
  17   that the signed original transcript of PAUL W. HRUZ,
       M.D., PH.D., taken on the 1st day of June, 2023, has
  18   been sealed and submitted to the originating party,
       along with the attached Errata Sheet(s), if
  19   applicable.
  20
           ________________________________________
  21         (Date received by Circle City Reporting)
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                           71:15;81:17;97:20;      154:4;158:5;159:5;        112:24;118:11;            71:2;72:2,17;73:3,10,
           A               160:13;161:12           160:23                    119:23                    16;74:14,16;76:3;
                         accepting (2)           add (1)                  advantage (2)                79:19;82:10;83:10;
  abdomen (1)              148:8;149:10            69:5                      137:9,11                  85:22;86:12;88:7;
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    133:25;134:3           23;74:8               additional (2)           adverse (14)                 24;100:10;101:8;
  ability (12)           accomplish    (1)         55:6;61:10                15:4,6;39:13;44:6;        103:1;104:1;105:24;
    5:25;13:16;23:19;      149:9                 additions (1)               55:14,21;56:3;57:4,       106:10;109:17;
    63:23;74:14;81:18; accord (3)                  12:13                     16;85:20;109:3;           110:4,4;112:13;
    106:17;108:8;          77:14;100:12;         address (11)                113:3;115:9;129:22        118:23;121:3;
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    137:16;153:3         according (1)             79:9;92:5;94:23;          69:20                     127:6;129:25;
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    11:5;17:20;23:25;    account (1)               122:17;124:12             38:7;69:16                134:7,9;135:21;
    28:16;37:13,17;        118:5                 addressed (4)            advocating (2)               136:19;137:8,25;
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                                                       Brief Statement on
                                                          Transgenderism
                             The National Catholic Bioethics Center



                Abstract. The claim that it is possible to change one’s sex, or that sexual identity

                and key tenets of the Catholic faith. A small number of persons claiming to
                be “transgender” mistakenly believe that their true self and sexual identity
                contradict the sex of their bodies. They frequently experience profound suffer-
                ing due to intense psychological distress and due to the challenges of forming
                a healthy self-identity and basic human relationships, including friendships
                and marriage. Hormonal and surgical interventions, and other behaviors and
                practices that attempt to validate mistaken beliefs to relieve distress and suf-
                fering, are inappropriate responses to their condition. Persons claiming to be

                and should be offered ethical, effective therapies based on sound anthropol-

                considerations to facilitate appropriate efforts to accompany and to help such
                persons. National Catholic Bioethics Quarterly 16.4 (Winter 2016): 599–603.

         The notion of being able to change one’s sex, most radically through surgical
         intervention, has increasingly become a part of public awareness and social discourse.
         The boldness of the gender ideology movement has now brought it to the forefront.
               Resolutions and policies of medical associations and legislative and regulatory

         pubescent children, and mandate the compliance of schools, health care providers,


               This essay is the result of an initial analysis by the ethicists of The National Catholic
         Bioethics Center, drafted in response to numerous requests from individual Catholics and

         position of the NCBC.

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      health care payers, social services, and others. Such regulations are coercive and based

      a false identity and, in many cases, mutilating the body in support of that falsehood.
                                    Human Anthropology
                                       and Gender
            Gender transitioning is the attempted exchange of one’s unambiguous, clearly

      alter himself to become female, or a female attempting to alter herself to become
      male. For the purposes of the present statement, it should be stressed that we are
      not addressing the complicated cases where various congenital disorders of sexual
      development result in uncertainty regarding a person’s biological sex, for example,
      situations involving ambiguous genitalia. The person seeking to transition, as we
      are using the term, essentially believes that he or she is in the “wrong body”: a male
      trapped in a female body or vice versa. The experience of anxiety or unhappiness
      associated with this conviction is referred to as gender dysphoria.
            Gender transitioning, involving behavioral, hormonal, or surgical treatments,
      or a combination of these, is coming to be broadly accepted as a form of “therapy.”
      The concept of gender transitioning, however, stands in radical opposition to a proper
      understanding of the nature of the human person. It presupposes that there is a “self”

      therefore be in the wrong body. Yet the human person is a full body–soul unity, not
      a “ghost in the machine” or a spirit inhabiting the body. A particular person does not
      merely have a body: he or she is that body. In the words of Pope St. John Paul II, the
      “human body expresses the person.”
            In short, a person’s sex is manifested by the body in accordance with how the

      identity contrary to that bodily sex. This is a foundational anthropological point
      that no medical association or political ideology can overturn. The psychological
      experience of a disconnect with one’s bodily sex is not to be minimized; it calls for

            Given this understanding of what it means to be a human person, a body–soul

      clear that no surgical, hormonal, or other intervention directed toward the body is
      capable of altering that innate sexual identity. Taking up or engaging in behavioral
      changes, including mannerisms, social cues, clothing, or modes of speaking that
      social mores ascribe to the opposite sex, does not alter the innate sexual identity of
      the embodied spirit, which is the human person. Hormonal interventions to block the

      sex likewise alter nothing of a person’s innate sexual identity. The use of puberty-
      blocking hormones in children with gender dysphoria is particularly dangerous, since
      this intervention radically disrupts the normal sequence of physical and psychological
      development that occurs during adolescence. One cannot simply “reverse” what has
      been done if the individual should change his or her mind.


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               So-called sex reassignment surgeries of any kind, designed to give the body
         an appearance with more of the culturally expected qualities of the opposite sex,
         also cannot modify the true sexual identity of the person, who was created male or
         female. Attempts at gender transitioning can, in fact, have disastrous effects in the
         life of a person who continues to struggle to better understand and accept his or her
         own true value and full identity. Studies show that the surgical interventions do not

         increase in attempted or completed suicides.1
                                         Ethical Implications
              The anthropological reality—that a person’s innate sexual identity cannot be
         changed—has moral consequences. Human persons act against their own good when
         they directly intend what is contrary to their own nature, purpose, and identity and


                                                                                             -
         tion one’s given bodily sex into a “new” one (even though this may be perceived as
         the “real” and “true” one) means intending to alter what is unalterable, to establish
         a false identity in place of one’s true identity, and so to deny and contradict one’s
         own authentic human existence as a male or female body–soul unity. Such an action
         cannot be consonant with the good of the whole person. While many circumstances


         directed against one’s own good.2
               The fact that gender transitioning via behavioral, hormonal, or surgical inter-

         repercussions in the practical order. For example, the following kinds of acts
         are harmful to the good of the person and may never be legitimately carried out,
         approved, or promoted: sex reassignment surgeries of any kind, which amount to
         nontherapeutic mutilations; the administration of cross-sex hormones as a means of
         gender transitioning in themselves, or in preparation for sex reassignment surgery;
         the administration of puberty-blocking hormones to children as a means of transi-
         tioning because of gender dysphoria or other sexual identity issues; and the adoption
         of behaviors, clothing, mannerisms, names, or pronouns typical of the opposite sex




                1. Lawrence S. Mayer and Paul McHugh, “Sexuality and Gender: Findings from the
         Biological, Psychological, and Social Sciences,” New Atlantis 50.3 (Fall 2016): 67.
                2. Gender “transitioning,” as used here, excludes interventions aimed at correcting
         congenital disorders of sexual development or reinforcing the best understood biological sex
         of a person with ambiguous genitalia or other ambiguous sex characteristics or behaviors.
         These may be and often are morally licit. The term also excludes any actions by which a
         person simulates characteristics of the opposite sex but without the intention of “becoming”
         that sex, such as cross-dressing, acting, imitating, or otherwise impersonating the opposite
         sex while still understanding and accepting one’s actual innate sexual identity.

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      with claims to be (and therefore demands to be treated as) a person of the opposite
      sex. Obviously, the most grave of these actions is mutilating surgery.
      Catholic Health Care
                                                                                              -

      nature of the human person, no Catholic health care organization should establish

      gender transitioning of patients, personnel, or other persons served by the organiza-
      tion. In addition, no Catholic health care organization should require its personnel to
      carry out, promote, refer for, or otherwise cooperate formally in procedures involved
      in gender transitioning, especially surgical or hormonal interventions; require the


      persons who are or who are planning on transitioning.
            The challenge of addressing this new phenomenon of transgenderism extends,

      promoting the deceptive view that mutilation is a treatment for gender identity dis-

      community in the technical sense of leading others to sin. A greater challenge for
      agencies sponsored by the Church is to address the holistic needs of transgender
      persons who are seeking, not direct support for sex reassignment, but pastoral care,
      other services, and full participation in the life of the Church.
      Catholic Educational Institutions
             Educational ministries of the Church are under increasing external pressure to
      treat students consistent with their self-selected gender identity, in education records,
      forms of speech (use of pronouns and names consistent with the self-selected gender),
      participation in school activities and sports, and access to bathrooms and locker rooms.
            Many schools are parish sponsored, and the pastor is “to have particular care
      for the Catholic education of children and youth. He is to make every effort, with
      the collaboration of the Christian faithful, so that the message of the gospel comes
      also to those who have ceased the practice of their religion or do not profess the true
      faith.” 3
      cooperating in the “transitioning” of youth is inconsistent with these obligations.
            The moral issue for Catholic schools is that they cannot participate in or
      promote the denial, or perceived denial, of the biological sex with which a child has
      been endowed by the Creator. Altering the name on school records, using “he” for
      a student born female or “she” for a student born male, and permitting a student to
      wear the uniform of the opposite sex do not truly serve the good of the student and

      the bathrooms or locker rooms reserved to those of the opposite sex.


            3. Code of Canon Law, can. 528 § 1, in Code of Canon Law: Latin–English Edition


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               Employment policies of a Catholic educational institution should also exemplify
         the mission of a ministry of the Catholic Church. Its teachers are to be outstanding in
         correct doctrine and integrity of life.4 There is a special obligation on those respon-
         sible for religious instruction and on the diocesan bishop for oversight.5 Catholic laity
         assist in carrying out the ministries of the Church, but they are to “live according to
         this doctrine, announce it themselves, defend it if necessary, and take their part in
         exercising the apostolate.” 6

         exemplify and foster the mission of the ministry and to challenge violations of the

         Catholic entity should submit to an immoral government mandate.7
                                   The Need for Accompaniment
               It is clear that those with gender dysphoria suffer greatly and must be treated
         with great compassion and sympathy. However, the attempt must be made to dissuade


         help them make truly therapeutic choices. Even when they have engaged in actions
         that have done irremediable harm, we must continue to accompany them and show
         them the love and compassion of Christ.

                                THE ETHICISTS OF THE NATIONAL CATHOLIC BIOETHICS CENTER




                4. Can. 803 § 2.
                5. Can. 804 § 2.
                6. Can. 229 § 1.
                7. Similar issues exist for Catholic higher education, which should exercise every
         right of refusal under state and federal Religious Freedom Restoration Acts, as well as the
         exemption from Title IX of the Education Amendments of 1972. Institutions sponsored by
         religious organizations are exempt from sex discrimination provisions if their application
         would be inconsistent with the religious tenets of the organization: 20 USC § 1681(a)(3).

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